           Case
 Fill in this      25-90538-AKM-11
              information to identify the case:      Doc 1        Filed 05/05/25           EOD 05/05/25 16:39:52                  Pg 1 of 61
     United States Bankruptcy Court for the:

     ____________________ District of _________________
     Southern District of Indiana (State)

                                                                      11
     Case number (If known): _________________________ Chapter ______
                                                                                                                                         Check if this is an
                                                                                                                                            amended filing




Official Form 201
V olunt a ry Pe t it ion for N on-I ndividua ls Filing for Ba nk rupt c y                                                                            04/25

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.    Debtor’s name                        QBD   Packaging LLC
                                           ______________________________________________________________________________________________________




2.    All other names debtor used          Quality  By Design Packaging
                                           ______________________________________________________________________________________________________
      in the last 8 years                  ______________________________________________________________________________________________________
                                           ______________________________________________________________________________________________________
      Include any assumed names,
                                           ______________________________________________________________________________________________________
      trade names, and doing business
      as names                             ______________________________________________________________________________________________________




3.    Debtor’s federal Employer            XX-XXXXXXX
                                           ______________________________________
      Identification Number (EIN)



4.    Debtor’s address                     Principal place of business                                  Mailing address, if different from principal place
                                                                                                        of business
                                               2710 Montgomery Dr.                                      _______________________________________________
                                           ______________________________________________
                                           Number     Street                                            Number     Street

                                           ______________________________________________               _______________________________________________
                                                                                                        P.O. Box

                                               Seymour                     IN      47274
                                           ______________________________________________               _______________________________________________
                                           City                        State    ZIP Code                City                      State      ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                               Jackson County
                                           ______________________________________________
                                           County                                                       _______________________________________________
                                                                                                        Number     Street

                                                                                                        _______________________________________________

                                                                                                        _______________________________________________
                                                                                                        City                      State      ZIP Code




5.    Debtor’s website (URL)                www.qbdpackaging.com
                                           ____________________________________________________________________________________________________


6.    Type of debtor                       
                                           ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                            Partnership (excluding LLP)
                                            Other. Specify: __________________________________________________________________


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 1
            Case 25-90538-AKM-11                 Doc 1        Filed 05/05/25                EOD 05/05/25 16:39:52                   Pg 2 of 61

                QBD Packaging LLC
Debtor          _______________________________________________________                           Case number (if known)_____________________________________
                Name


                                         A. Check one:
7.    Describe debtor’s business
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                         
                                         ✔ None of the above



                                         B. Check all that apply:
                                          Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                          Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))
                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                            See http://www.naics.com/search/ .
                                            339900
                                            _________

8.    Under which chapter of the         Check one:
      Bankruptcy Code is the              Chapter 7
      debtor filing?
                                          Chapter 9
                                         
                                         ✔ Chapter 11. Check all that apply:

                                                             Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                              insiders or affiliates) are less than $3,424,000 (amount subject to adjustment on
                                                              4/01/28 and every 3 years after that).
       A debtor who is a “small business
       debtor” must check the first sub-                  
                                                          ✔      The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
       box. A debtor as defined in                            debtor is a small business debtor, attach the most recent balance sheet, statement
                                                              of operations, cash-flow statement, and federal income tax return or if all of these
       § 1182(1) who elects to proceed
                                                              documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
       under subchapter V of chapter 11
       (whether or not the debtor is a                    
                                                          ✔      The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it
       “small business debtor”) must                          chooses to proceed under Subchapter V of Chapter 11.
       check the second sub-box.
                                                                   A plan is being filed with this petition.

                                                                Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                                The debtor is required to file periodic reports (for example, 10K and 10Q) with
                                                              the Securities and Exchange Commission according to § 13 or 15(d) of the
                                                              Securities Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-
                                                              Individuals Filing for Bankruptcy under Chapter 11 (Official Form 201A) with this
                                                              form.

                                                                The debtor is a shell company as defined in the Securities Exchange Act of 1934
                                                              Rule 12b-2.
                                          Chapter 12

9.    Were prior bankruptcy cases         No
      filed by or against the debtor
      within the last 8 years?            Yes. District _______________________ When _______________ Case number _________________________
                                                                                                 MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

10. Are any bankruptcy cases              No
      pending or being filed by a
      business partner or an              Yes. Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                     District _____________________________________________ When                  __________________
      List all cases. If more than 1,                                                                                           MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________

     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                   page 2
         Case 25-90538-AKM-11                      Doc 1          Filed 05/05/25          EOD 05/05/25 16:39:52                   Pg 3 of 61

               QBD Packaging LLC
Debtor         _______________________________________________________                         Case number (if known)_____________________________________
               Name




11. Why is the case filed in this         Check all that apply:
   district?
                                           Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                               immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                               district.

                                           A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or have           
                                          ✔ No
   possession of any real                  Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
   property or personal property
   that needs immediate                             Why does the property need immediate attention? (Check all that apply.)
   attention?
                                                     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                        What is the hazard? _____________________________________________________________________

                                                     It needs to be physically secured or protected from the weather.
                                                     It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                        attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                        assets or other options).

                                                     Other _______________________________________________________________________________


                                                    Where is the property?_____________________________________________________________________
                                                                                Number       Street

                                                                                ____________________________________________________________________

                                                                                _______________________________________      _______     ________________
                                                                                City                                         State       ZIP Code


                                                    Is the property insured?
                                                     No
                                                     Yes. Insurance agency ____________________________________________________________________
                                                             Contact name       ____________________________________________________________________

                                                             Phone              ________________________________




          St a t ist ic a l a nd a dm inist ra t ive informa t ion



13. Debtor’s estimation of                Check one:
   available funds                         Funds will be available for distribution to unsecured creditors.
                                           ✔


                                           After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                           1-49
                                           ✔
                                                                             1,000-5,000                             25,001-50,000
14. Estimated number of
                                           50-99                            5,001-10,000                            50,001-100,000
   creditors
                                           100-199                          10,001-25,000                           More than 100,000
                                           200-999

                                           $0-$50,000                       $1,000,001-$10 million
                                                                            ✔
                                                                                                                      $500,000,001-$1 billion
15. Estimated assets
                                           $50,001-$100,000                 $10,000,001-$50 million                 $1,000,000,001-$10 billion
                                           $100,001-$500,000                $50,000,001-$100 million                $10,000,000,001-$50 billion
                                           $500,001-$1 million              $100,000,001-$500 million               More than $50 billion



 Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 3
         Case 25-90538-AKM-11                      Doc 1         Filed 05/05/25                  EOD 05/05/25 16:39:52                Pg 4 of 61

             QBD Packaging LLC
Debtor       _______________________________________________________                               Case number (if known)_____________________________________
             Name



                                          $0-$50,000                          $1,000,001-$10 million                     $500,000,001-$1 billion
16. Estimated liabilities
                                          $50,001-$100,000                    $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                   $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million
                                          ✔
                                                                               $100,000,001-$500 million                  More than $50 billion


           Re que st for Re lie f, De c la ra tion, a nd Signa t ure s


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17. Declaration and signature of             The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
   authorized representative of
                                              petition.
   debtor
                                             I have been authorized to file this petition on behalf of the debtor.

                                             I have examined the information in this petition and have a reasonable belief that the information is true and
                                              correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                                            05/05/2025
                                              Executed on _________________
                                                          MM / DD / YYYY


                                          /s/ Nnodum Iheme
                                              _____________________________________________                 Nnodum Iheme
                                                                                                           _______________________________________________
                                              Signature of authorized representative of debtor             Printed name


                                              Title _________________________________________




18. Signature of attorney
                                          /s/ Jeffrey Hester
                                              _____________________________________________                Date       05/05/2025
                                                                                                                      _________________
                                              Signature of attorney for debtor                                        MM     / DD / YYYY



                                              Jeffrey Hester
                                              _________________________________________________________________________________________________
                                              Printed name
                                              Hester Baker Krebs LLC
                                              _________________________________________________________________________________________________
                                              Firm name
                                              One Indiana Sq Suite 1330
                                              _________________________________________________________________________________________________
                                              Number     Street
                                              Indianapolis
                                              ____________________________________________________             IN              46204
                                                                                                               ____________ ______________________________
                                              City                                                             State        ZIP Code

                                              317-833-3030
                                              ____________________________________                                jhester@hbkfirm.com
                                                                                                               __________________________________________
                                              Contact phone                                                    Email address



                                              22048-49                                                         IN
                                              ______________________________________________________ ____________
                                              Bar number                                             State




 Official Form 201                             Voluntary Petition for Non-Individuals Filing for Bankruptcy                                   page 4
              Case 25-90538-AKM-11                                           Doc 1               Filed 05/05/25                         EOD 05/05/25 16:39:52                                      Pg 5 of 61


 Fill in this information to identify the case:

                QBD Packaging LLC
  Debtor name _________________________________________________________________

                                          Southern District of Indiana
  United States Bankruptcy Court for the:_______________________ District of ________
                                                                                                                     (State)
  Case number (If known):              _________________________


                                                                                                                                                                                                      Check if this is an
                                                                                                                                                                                                         amended filing



Official Form 206Sum
Sum m a ry of Asse t s a nd Lia bilit ie s for N on-I ndividua ls                                                                                                                                                  12/15




Pa rt 1 :        Sum m a ry of Asse t s


1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

     1a. Real property:
                                                                                                                                                                                                        1,400,000.00
                                                                                                                                                                                                   $ __________________
           Copy line 88 from Schedule A/B ..........................................................................................................................................

     1b. Total personal property:                                                                                                                                                                         727,983.37
                                                                                                                                                                                                    $ __________________
           Copy line 91A from Schedule A/B ........................................................................................................................................

     1c. Total of all property:                                                                                                                                                                         2,127,983.37
                                                                                                                                                                                                    $ __________________
           Copy line 92 from Schedule A/B ..........................................................................................................................................




Pa rt 2 :        Sum m a ry of Lia bilit ie s




2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                                                          573,295.00
                                                                                                                                                                                                    $ __________________
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D ................................................

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)


     3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                                                           44,547.94
                                                                                                                                                                                                    $ __________________
           Copy the total claims from Part 1 from line 6a of Schedule E/F .........................................................................................

     3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 6b of Schedule E/F .............................................................                                           +$ __________________
                                                                                                                                                                                                          273,242.25



4. Total liabilities ...........................................................................................................................................................................          891,085.19
                                                                                                                                                                                                    $ __________________
     Lines 2 + 3a + 3b




  Official Form 206Sum                                        Summary of Assets and Liabilities for Non-Individuals                                                                                       page 1
              Case 25-90538-AKM-11                     Doc 1        Filed 05/05/25              EOD 05/05/25 16:39:52                   Pg 6 of 61

      Fill in this information to identify the case:

                    QBD Packaging LLC
      Debtor name __________________________________________________________________

                                              Southern District of Indiana
      United States Bankruptcy Court for the:_______________________________
                                                                                                                                           Check if this is an
      Case number (If known):    _________________________                                                                                     amended filing




    Official Form 204
    Cha pt e r 1 1 or Cha pt e r 9 Ca se s: List of Cre dit ors Who H a ve t he 2 0 La rge st
    U nse c ure d Cla im s a nd Are N ot I nside rs                                                                                                        12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete            Name, telephone number,          Nature of the claim Indicate if   Amount of unsecured claim
     mailing address, including zip code      and email address of             (for example, trade claim is      If the claim is fully unsecured, fill in only unsecured
                                              creditor contact                 debts, bank loans,  contingent, claim amount. If claim is partially secured, fill in
                                                                               professional        unliquidated, total claim amount and deduction for value of
                                                                               services, and       or disputed collateral or setoff to calculate unsecured claim.
                                                                               government
                                                                               contracts)
                                                                                                                    Total claim, if   Deduction for      Unsecured
                                                                                                                    partially         value of           claim
                                                                                                                    secured           collateral or
                                                                                                                                      setoff
     Nnodum Pharmacuetical                                                   Monies Loaned /
1    483 Northland Blvd                                                      Advanced
     Cincinnati, OH, 45240
                                                                                                                                                        138,200.00


     Colbert Packaging Corporation           rhart@colbertpkg.com            Suppliers or Vendors
2    1511 W. Lusher Avenue
     Elkhart, IN, 46517
                                                                                                                                                        77,620.01


     Jackson County Treasurer                                                Taxes & Other
3    111 S. Main Street, Suite 124                                           Government Units
     Brownstown, IN, 47220
                                                                                                                                                        44,547.94


     First Financial Bank                    shanda.thayer@bankatfirst.com   Monies Loaned /
4    225 Pictoria Drive, Suite 120                                           Advanced
     Cincinnati, OH, 45246                                                                                                                              24,875.00


     Liveo Research, Inc.                                                    Suppliers or Vendors
5    1389 School House Road
     New Castle, DE, 19720                                                                                                                              12,399.20


     Reliable Comfort                        service@reliablecomfort.com     Services
6    2601 Montgomery Drive
     Seymour, IN, 47274                                                                                                                                 4,999.00


     Duke Energy                             lynn.colombo@duke-energy.com    Utility Services
7    P.O. Box 1327
     Charlotte, NC, 28201                                                                                                                               3,991.23


     Plymate                                 ar@plymate.com                  Suppliers or Vendors
8    819 Elston Drive
     Shelbyville, IN, 46176                                                                                                                             2,604.12




    Official Form 204            Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                 page 1
               Case 25-90538-AKM-11                   Doc 1        Filed 05/05/25              EOD 05/05/25 16:39:52                   Pg 7 of 61

                    QBD Packaging LLC
    Debtor         _______________________________________________________                         Case number (if known)_____________________________________
                   Name




     Name of creditor and complete            Name, telephone number,         Nature of the claim Indicate if   Amount of unsecured claim
     mailing address, including zip code      and email address of            (for example, trade claim is      If the claim is fully unsecured, fill in only unsecured
                                              creditor contact                debts, bank loans,  contingent, claim amount. If claim is partially secured, fill in
                                                                              professional        unliquidated, total claim amount and deduction for value of
                                                                              services, and       or disputed collateral or setoff to calculate unsecured claim.
                                                                              government
                                                                              contracts)
                                                                                                                   Total claim, if   Deduction for      Unsecured
                                                                                                                   partially         value of           claim
                                                                                                                   secured           collateral or
                                                                                                                                     setoff
     Secura Insurance                                                       Services
9    P.O. Box 819
     Appleton, WI, 54912                                                                                                                               2,260.51


     IPFS Corporation                                                       Services
10 P.O. Box 412086
     Kansas City, MO, 64141                                                                                                                            1,532.10



     Vectren Energy                                                         Utility Services
11 P.O.Box 6248
     Indianapolis, IN, 46206                                                                                                                           1,049.55


     PCA                                     gregzabor@packagingcorp.com    Suppliers or Vendors
12 3460 Commerce Drive
     Columbus, IN, 477201                                                                                                                              856.50



     Stuckwisch Outdoor Services             cstuckwisch15@gmail.com        Services
13 2042 N. County Road 950 E
     Seymour, IN, 47274                                                                                                                                785.00


     Comcast Cable                                                          Utility Services
14 P.O. Box 7500
     Southeastern, PA, 19398-7500                                                                                                                      425.40


     Flexi-Print                             gwford@flexi-pharma.com        Services
15 50 Commercial Avenue
     Moonachie, NJ, 07074
                                                                                                                                                       378.87


     Aflac                                                                  Services
16 1932 Wynnton Road
     Columbus, GA, 31999                                                                                                                               363.48


     General Rubber                          sara@grpsey.com                Services
17 1007 W. Brown Street
     Seymour, IN, 47274
                                                                                                                                                       353.33


     Best Way Disposal                                                      Services
18 2577 Kentucy Avenue
     Indianapolis, IN, 46221                                                                                                                           234.12


     Indiana American Water                  shannon.ferguson@amwater.com Utility Services
19 P.O. Box 6029
     Carol Stream, IL, 60197
                                                                                                                                                       213.33


     Great American Financial Service                                       Services
20 P.O. Box 660831
     Dallas, TX, 75266                                                                                                                                 85.45




    Official Form 204               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                  page 2
            Case 25-90538-AKM-11                       Doc 1    Filed 05/05/25           EOD 05/05/25 16:39:52                   Pg 8 of 61
  Fill in this information to identify the case:

               QBD Packaging LLC
  Debtor name __________________________________________________________________


  United States Bankruptcy Court for the:_______________________________
                                          Southern District of Indiana
  Case number (If known):     _________________________                                                                              Check if this is an
                                                                                                                                        amended filing


Official Form 206A/B
Sche dule A/B: Asse t s — Re a l a nd Pe rsona l Prope r t y                                                                                      12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Pa rt 1 :   Ca sh a nd c a sh e quiva le nt s

1. Does the debtor have any cash or cash equivalents?

    No. Go to Part 2.
    Yes. Fill in the information below.
    ✔




     All cash or cash equivalents owned or controlled by the debtor                                                               Current value of debtor’s
                                                                                                                                  interest

2. Cash on hand                                                                                                                  $______________________
                                                                                                                                   0.00

3. Checking, savings, money market, or financial brokerage accounts (Identify all)

    Name of institution (bank or brokerage firm)               Type of account                 Last 4 digits of account number
          First Financial Bank (Acct Ending 5703)(Checking Account)
    3.1. _________________________________________________      Checking
                                                               ______________________          5
                                                                                               ____  7
                                                                                                    ____ 0
                                                                                                         ____ 3
                                                                                                              ____               $______________________
                                                                                                                                   1,198.00
    3.2. _________________________________________________ ______________________              ____ ____ ____ ____               $______________________


4. Other cash equivalents (Identify all)
    4.1. _____________________________________________________________________________________________________                   $______________________
    4.2. _____________________________________________________________________________________________________                   $______________________

5. Total of Part 1                                                                                                                 1,198.00
                                                                                                                                 $______________________
   Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



Pa rt 2 :   De posit s a nd pre pa ym e nt s

6. Does the debtor have any deposits or prepayments?

    No. Go to Part 3.
    Yes. Fill in the information below.
    ✔


                                                                                                                                   Current value of
                                                                                                                                   debtor’s interest
7. Deposits, including security deposits and utility deposits

    Description, including name of holder of deposit
          Pre-payments
    7.1. ________________________________________________________________________________________________________                 $______________________
                                                                                                                                    161,035.00
         Utiltiy Company Deposit
    7.2._________________________________________________________________________________________________________                 $_______________________
                                                                                                                                    Unknown



   Official Form 206A/B                                    Schedule A/B: Assets  Real and Personal Property                                  page 1
            Case 25-90538-AKM-11                          Doc 1    Filed 05/05/25           EOD 05/05/25 16:39:52                  Pg 9 of 61
Debtor           QBD Packaging LLC
                _______________________________________________________                          Case number (if known)_____________________________________
                Name




8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
    Description, including name of holder of prepayment

    8.1.___________________________________________________________________________________________________________                $______________________
    8.2.___________________________________________________________________________________________________________                $_______________________

9. Total of Part 2.
                                                                                                                                   $______________________
                                                                                                                                     161,035.00
   Add lines 7 through 8. Copy the total to line 81.



Pa rt 3 :   Ac c ount s re c e iva ble

10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes. Fill in the information below.
      ✔


                                                                                                                                   Current value of debtor’s
                                                                                                                                   interest
11. Accounts receivable

     11a. 90 days old or less:     28,693.58
                                  ____________________________    0.00
                                                               – ___________________________          = ........                 $______________________
                                                                                                                                    28,693.58
                                    face amount                  doubtful or uncollectible accounts

     11b. Over 90 days old:         0.00
                                   ___________________________    0.00
                                                               – ___________________________          = ........                 $______________________
                                                                                                                                    0.00
                                    face amount                  doubtful or uncollectible accounts


12. Total of Part 3
                                                                                                                                  $______________________
                                                                                                                                    28,693.58
     Current value on lines 11a + 11b = line 12. Copy the total to line 82.


Pa rt 4 :   I nve st me nt s

13. Does the debtor own any investments?
      No. Go to Part 5.
      ✔


      Yes. Fill in the information below.
                                                                                                         Valuation method          Current value of debtor’s
                                                                                                         used for current value    interest

14. Mutual funds or publicly traded stocks not included in Part 1
    Name of fund or stock:
    14.1. ________________________________________________________________________________               _____________________    $________________________
    14.2. ________________________________________________________________________________               _____________________    $________________________



15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnership, or joint venture

    Name of entity:                                                                 % of ownership:
    15.1._______________________________________________________________            ________%            _____________________    $________________________
    15.2._______________________________________________________________            ________%            _____________________    $________________________

16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
    Describe:

    16.1.________________________________________________________________________________                ______________________    $_______________________
    16.2.________________________________________________________________________________                ______________________    $_______________________



17. Total of Part 4
                                                                                                                                  $______________________
     Add lines 14 through 16. Copy the total to line 83.



Official Form 206A/B                                          Schedule A/B: Assets  Real and Personal Property                                  page 2
            Case 25-90538-AKM-11                     Doc 1        Filed 05/05/25             EOD 05/05/25 16:39:52                  Pg 10 of 61
                QBD Packaging LLC
Debtor         _______________________________________________________                             Case number (if known)_____________________________________
               Name




Pa rt 5 :   I nve nt ory, e x c luding a gric ult ure a sse t s

18. Does the debtor own any inventory (excluding agriculture assets)?
      No. Go to Part 6.
      Yes. Fill in the information below.
      ✔




      General description                              Date of the last         Net book value of        Valuation method used        Current value of
                                                       physical inventory       debtor's interest        for current value            debtor’s interest
                                                                                (Where available)
19. Raw materials
    ________________________________________                 ______________                                                          $______________________
                                                             MM / DD / YYYY
                                                                                $__________________       ______________________

20. Work in progress
    ________________________________________                 ______________                                                          $______________________
                                                             MM / DD / YYYY
                                                                                $__________________       ______________________

21. Finished goods, including goods held for resale
    ________________________________________                 ______________                                                          $______________________
                                                             MM / DD / YYYY
                                                                                $__________________       ______________________

22. Other inventory or supplies
                                                                                  47,056.79                                            47,056.79
  See continuation sheet
   ________________________________________                  ______________                                                          $______________________
                                                             MM / DD / YYYY
                                                                                $__________________       ______________________


23. Total of Part 5                                                                                                                    47,056.79
                                                                                                                                     $______________________
     Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
     
     ✔ No
      Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

      No
      ✔


      Yes. Book value _______________              Valuation method____________________ Current value______________
26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
     
     ✔ No
      Yes
Pa rt 6 :   Fa rm ing a nd fishing-re la t e d a sse t s (ot he r t ha n t it le d m ot or ve hic le s a nd la nd)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
      No. Go to Part 7.
      ✔



      Yes. Fill in the information below.
      General description                                                       Net book value of        Valuation method used        Current value of debtor’s
                                                                                debtor's interest        for current value            interest
                                                                                (Where available)
28. Crops—either planted or harvested
    ______________________________________________________________               $________________         ____________________      $______________________

29. Farm animals Examples: Livestock, poultry, farm-raised fish

    ______________________________________________________________               $________________         ____________________      $______________________

30. Farm machinery and equipment (Other than titled motor vehicles)

    ______________________________________________________________               $________________         ____________________      $______________________

31. Farm and fishing supplies, chemicals, and feed

    ______________________________________________________________               $________________         ____________________      $______________________

32. Other farming and fishing-related property not already listed in Part 6
    ______________________________________________________________               $________________         ____________________     $______________________


Official Form 206A/B                                         Schedule A/B: Assets  Real and Personal Property                                     page 3
            Case 25-90538-AKM-11                     Doc 1        Filed 05/05/25            EOD 05/05/25 16:39:52                 Pg 11 of 61
                QBD Packaging LLC
Debtor         _______________________________________________________                           Case number (if known)_____________________________________
               Name




33. Total of Part 6.
                                                                                                                                   $______________________
     Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?

      No
      Yes. Is any of the debtor’s property stored at the cooperative?
        No
        Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

      No
      Yes. Book value $_______________ Valuation method ____________________ Current value $________________
36. Is a depreciation schedule available for any of the property listed in Part 6?

      No
      Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

      No
      Yes

Pa rt 7 :   Offic e furnit ure , fix t ure s, a nd e quipm e nt ; a nd c olle c t ible s

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes. Fill in the information below.
      ✔




    General description                                                          Net book value of     Valuation method             Current value of debtor’s
                                                                                 debtor's interest     used for current value       interest
                                                                                 (Where available)
39. Office furniture

                                                                                  $________________     ____________________      $______________________
40. Office fixtures

                                                                                  $________________     ____________________      $______________________
41. Office equipment, including all computer equipment and
    communication systems equipment and software
Office equipment                                                                    13,000.00                                       13,000.00
                                                                                  $________________     ____________________      $______________________


42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
   artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
   or baseball card collections; other collections, memorabilia, or collectibles

    42.1___________________________________________________________               $________________      ____________________      $______________________
    42.2___________________________________________________________               $________________      ____________________      $______________________
    42.3___________________________________________________________               $________________      ____________________      $______________________
43. Total of Part 7.
                                                                                                                                     13,000.00
                                                                                                                                   $______________________
    Add lines 39 through 42. Copy the total to line 86.

44. Is a depreciation schedule available for any of the property listed in Part 7?

     
     ✔ No
      Yes
45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
     
     ✔ No
      Yes
Official Form 206A/B                                          Schedule A/B: Assets  Real and Personal Property                                  page 4
          Case 25-90538-AKM-11                     Doc 1       Filed 05/05/25         EOD 05/05/25 16:39:52                 Pg 12 of 61
                QBD Packaging LLC
 Debtor        _______________________________________________________                     Case number (if known)_____________________________________
               Name




Pa rt 8 : M a c hine ry, e quipme nt , a nd ve hic le s

46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
     
     ✔
       Yes. Fill in the information below.


    General description                                                    Net book value of      Valuation method used        Current value of
                                                                           debtor's interest      for current value            debtor’s interest
    Include year, make, model, and identification numbers (i.e., VIN,
                                                                           (Where available)
    HIN, or N-number)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

    47.1___________________________________________________________         $________________      ____________________       $______________________

    47.2___________________________________________________________         $________________      ____________________       $______________________

    47.3___________________________________________________________         $________________      ____________________       $______________________

    47.4___________________________________________________________         $________________      ____________________       $______________________

48. Watercraft, trailers, motors, and related accessories Examples: Boats,
    trailers, motors, floating homes, personal watercraft, and fishing vessels

    48.1__________________________________________________________         $________________       ____________________       $______________________

    48.2__________________________________________________________         $________________       ____________________       $______________________

49. Aircraft and accessories

    49.1__________________________________________________________         $________________       ____________________       $______________________

    49.2__________________________________________________________         $________________       ____________________       $______________________

50. Other machinery, fixtures, and equipment
    (excluding farm machinery and equipment)
    Machinery (as detailed on attached form)
                                                                             477,000.00                                         477,000.00
    ______________________________________________________________         $________________       ____________________       $______________________


51. Total of Part 8.                                                                                                            477,000.00
                                                                                                                              $______________________
    Add lines 47 through 50. Copy the total to line 87.



52. Is a depreciation schedule available for any of the property listed in Part 8?
     
     ✔ No
      Yes
53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
     
     ✔ No
      Yes




 Official Form 206A/B                                     Schedule A/B: Assets  Real and Personal Property                                page 5
            Case 25-90538-AKM-11
               QBD Packaging LLC
                                                        Doc 1         Filed 05/05/25           EOD 05/05/25 16:39:52                 Pg 13 of 61
 Debtor           _______________________________________________________                           Case number (if known)_____________________________________
                  Name




Pa rt 9 :    Re a l prope rt y

54. Does the debtor own or lease any real property?
        No. Go to Part 10.
        Yes. Fill in the information below.
       ✔



55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

       Description and location of property                   Nature and extent      Net book value of     Valuation method used        Current value of
       Include street address or other description such as    of debtor’s interest   debtor's interest     for current value            debtor’s interest
       Assessor Parcel Number (APN), and type of property     in property            (Where available)
       (for example, acreage, factory, warehouse, apartment
       or office building), if available.
       2710 Montgomery Drive, Seymour, IN (Industrial
55.1
       building with 21,984 square feet on 1.82 acres)
                                                                                                                                         1,400,000.00
                                                                                     $_______________      ____________________        $_____________________

55.2

                                                                                     $_______________      ____________________        $_____________________

55.3

                                                                                     $_______________      ____________________        $_____________________


56. Total of Part 9.                                                                                                                     1,400,000.00
                                                                                                                                       $_____________________
       Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
       
       ✔ No
        Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
       
       ✔ No
        Yes
Pa rt 1 0 : I nt a ngible s a nd int e lle c t ua l prope rty

59. Does the debtor have any interests in intangibles or intellectual property?
        No. Go to Part 11.
       ✔


        Yes. Fill in the information below.
        General description                                                          Net book value of     Valuation method             Current value of
                                                                                     debtor's interest     used for current value       debtor’s interest
                                                                                     (Where available)
60. Patents, copyrights, trademarks, and trade secrets
       ______________________________________________________________                $_________________     ______________________      $____________________

61. Internet domain names and websites
       ______________________________________________________________                $_________________     ______________________       $____________________

62. Licenses, franchises, and royalties
       ______________________________________________________________                $_________________     ______________________       $____________________

63. Customer lists, mailing lists, or other compilations
       ______________________________________________________________                $_________________     ______________________       $____________________

64. Other intangibles, or intellectual property
       ______________________________________________________________                 $________________     _____________________       $____________________
65. Goodwill
       ______________________________________________________________                 $________________     _____________________       $____________________

66. Total of Part 10.
                                                                                                                                        $____________________
       Add lines 60 through 65. Copy the total to line 89.




 Official Form 206A/B                                            Schedule A/B: Assets  Real and Personal Property                                  page 6
           Case 25-90538-AKM-11                         Doc 1    Filed 05/05/25          EOD 05/05/25 16:39:52                    Pg 14 of 61
Debtor            QBD Packaging LLC
                 _______________________________________________________                      Case number (if known)_____________________________________
                 Name




67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
     No
     Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
     No
     Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
     No
     Yes
Pa rt 1 1 : All ot he r a sse t s

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
     No. Go to Part 12.
      ✔


     Yes. Fill in the information below.
                                                                                                                                    Current value of
                                                                                                                                    debtor’s interest
71. Notes receivable
     Description (include name of obligor)
                                                                     _______________ –    __________________________         =    $_____________________
     ______________________________________________________
                                                                     Total face amount    doubtful or uncollectible amount

72. Tax refunds and unused net operating losses (NOLs)

     Description (for example, federal, state, local)

     _________________________________________________________________________________
                                                                                                        Tax year ___________       $_____________________
     _________________________________________________________________________________
                                                                                                        Tax year ___________       $_____________________
     _________________________________________________________________________________
                                                                                                        Tax year ___________       $_____________________

73. Interests in insurance policies or annuities
    ______________________________________________________________                                                                 $_______________________

74. Causes of action against third parties (whether or not a lawsuit
    has been filed)
    ______________________________________________________________                                                                 $_______________________
    Nature of claim                    ___________________________________

    Amount requested                   $________________

75. Other contingent and unliquidated claims or causes of action of
    every nature, including counterclaims of the debtor and rights to
    set off claims
    ______________________________________________________________                                                                 $_______________________

    Nature of claim                    ___________________________________

    Amount requested                   $________________

76. Trusts, equitable or future interests in property

    ______________________________________________________________                                                                  $_____________________

77. Other property of any kind not already listed Examples: Season tickets,
    country club membership
   ____________________________________________________________                                                                    $_____________________
   ____________________________________________________________                                                                    $_____________________
78. Total of Part 11.
                                                                                                                                   $_____________________
    Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
     No
     Yes
Official Form 206A/B                                         Schedule A/B: Assets  Real and Personal Property                                 page 7
              Case 25-90538-AKM-11                             Doc 1           Filed 05/05/25                   EOD 05/05/25 16:39:52                      Pg 15 of 61
                   QBD Packaging LLC
Debtor            _______________________________________________________                                              Case number (if known)_____________________________________
                  Name




Pa rt 1 2 :     Sum ma ry



In Part 12 copy all of the totals from the earlier parts of the form.


       Type of property                                                                             Current value of                       Current value
                                                                                                    personal property                      of real property
                                                                                                         1,198.00
80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                 $_______________

                                                                                                         161,035.00
81. Deposits and prepayments. Copy line 9, Part 2.                                                     $_______________

                                                                                                         28,693.58
82. Accounts receivable. Copy line 12, Part 3.                                                         $_______________

                                                                                                         0.00
83. Investments. Copy line 17, Part 4.                                                                 $_______________
                                                                                                         47,056.79
84. Inventory. Copy line 23, Part 5.                                                                   $_______________
                                                                                                         0.00
85. Farming and fishing-related assets. Copy line 33, Part 6.                                          $_______________

86. Office furniture, fixtures, and equipment; and collectibles.                                         13,000.00
                                                                                                       $_______________
     Copy line 43, Part 7.
                                                                                                         477,000.00
87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                          $_______________

                                                                                                                                            1,400,000.00
                                                                                                                                          $________________
88. Real property. Copy line 56, Part 9. . .................................................................................. 
                                                                                                         0.00
89. Intangibles and intellectual property. Copy line 66, Part 10.                                      $_______________

                                                                                                      0.00
90. All other assets. Copy line 78, Part 11.                                                      + $_______________
                                                                                                         727,983.37                        1,400,000.00
91. Total. Add lines 80 through 90 for each column. ........................... 91a.                   $_______________           + 91b. $________________

                                                                  2,127,983.37                                                                                   2,127,983.37
92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. ...........................................................................................   $__________________




Official Form 206A/B                                                     Schedule A/B: Assets  Real and Personal Property                                             page 8
            Case 25-90538-AKM-11            Doc 1        Filed 05/05/25      EOD 05/05/25 16:39:52                 Pg 16 of 61
                QBD Packaging LLC
 Debtor 1                                                         _                Case number (if known)
               First Name   Middle Name   Last Name



                                              Continuation Sheet for Official Form 206 A/B


22) Other inventory or supplies

General                     Date of the               Net book value       Valuation                        Current value
description                 last physical                                  method
                            inventory

Packaged                    04/28/2025                25,649.29                                             25,649.29
Component

Labeling                    04/28/2025                21,407.50                                             21,407.50
Component




Official Form 206 A/B                                         Schedule A/B: Property
                             Case 25-90538-AKM-11                       Doc 1    Filed 05/05/25     EOD 05/05/25 16:39:52    Pg 17 of 61

                                                              QbD Equipment List
  EQUIPMENT
                                     NAME/DECSRIPTION                                    LOCATION          STATUS             FMV
   NUMBER
                                King Rotary Unscrambler/turn table
   QbD-0001                          Model # US3 Serial # 622                               P1            IN SERVICE   $          3,500.00
                        220 Volts AC Phase 2 60HZ 0.3pmp's each leg, no air
                             King Modular System Bottle Blower Vac.
   QbD-0002                        Model # BB5G26 Serial # 33                               P1            IN SERVICE   $          2,500.00
                            110 Volts HZ 60 AMPS 2 Phase 1 Air 80 PSI
                                    Omega Desiccant Inserter
                               Model # CDFI-1D1 Serial # 04J34679
   QbD-0003                                                                                 P1            IN SERVICE   $         15,000.00
                    120 Volts Amps-10 Phase 1 H260 Short Circuit Amps 300.000
                                 Air Pressure 90 PSIG SCFM 1.5
                      King Electronic Tablet/Capsule Counter - Electronic Head
                                     Model # 065 Serial # 130
   QbD-0004                       Top Equip Serial # TC82175/08                             P1            IN SERVICE   $         27,000.00

                             Bottom Equip. Serial # At-*LC/8R42178/06
                                  220 Votls HZ60 Phase 3 80 PSI
                                      Modular Bottle Counter
   QbD-0005                         Model # N/A Serail # N/A                                P1            IN SERVICE        in ADD 11
                                  Voltz 110 AMP 0.2 HZ 60 80PSI
                                       King Cotton Inserter
   QbD-0006                  Model # CF 100R/Batch 1545 Serial # 367                        P1            IN SERVICE   $          9,500.00
                         Voltz 220 3 phase 80 PSI HZ60 Amps 2.4/2.4/2/4
                                          King Conveyor
   QbD-0007                                                                                 P1            IN SERVICE   $          6,750.00
                                 Model # N/A Serial # N/A No air
                                        Modular Conveyor
   QbD-0009                         Model # N/A Serial # N/A                               SP1            IN SERVICE   $          2,000.00
                                110 Volts 5.35 Amps Phase 1 HZ60
                                Modular Turntable Dayton Control
   QbD-0010                        Model # 5X412 Serial # N/A                              SP1            IN SERVICE   $            750.00
                                Volts 110 Amps 0.2 phase 1 HZ 60
                                         Kaps- All Capper
   QbD-0011                         Model # A2 Serial @ 2566                                P1            IN SERVICE   $         24,000.00
                                 Voltz 110 Amps 0.2 Phase 1 HZ60
                               Enercon Compak Induction Cap Sealer
   QbD-0012                    Model # LM3352-03 Serial # 10305-3                           P1            IN SERVICE   $          3,500.00
                             115-Volt 19.8 AMPS HZ60 Phase 1 No air
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                    Case 25-90538-AKM-11                   Doc 1   Filed 05/05/25   EOD 05/05/25 16:39:52   Pg 18 of 61

                            Kalish Acuum. Table
   QbD-0013               Model # N/A Serial # N/A                            P1          IN SERVICE   $       2,000.00
                                  110 Volt
                     Kalish Torqit Cap/ Torquins Machine
   QbD-0014             Model # 5750 Serial # 802622                          P1          IN SERVICE   $       8,000.00
                      120-Volt HZ 60 Phase 1 Amps-2




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                                Case 25-90538-AKM-11                       Doc 1          Filed 05/05/25      EOD 05/05/25 16:39:52     Pg 19 of 61

                                            Modular Conveyor
   QbD-0015                             Model # N/A Serial # N/A                                     P1             IN SERVICE     $         2,250.00
                                   110- Volt 5.35 Amps Phase 1 HZ60
                                             Accraply Labeler
   QbD-0016                            Model # 35W Serial # 2740                                     P1             IN SERVICE     $         5,500.00
                        115 Volt Amps 15 Phase 1 HZ60 80 PSI CFM 1 MFG 4/92
                                   King Rotary Unscrambler/Turntable
   QbD-0017                             Model # US3 Serial # 540                                    SP1             IN SERVICE     $         3,500.00
                                 220-Volt 2Phase 60HZ 0.3Amp 0.3 AMP
                                  Mettler Tledo Hi-Speed Checkweigher
                                                                                                  Equipment
   QbD-0018                     Part # 00015 Model # VLS Serial # 120700                                          OUT OF SERVICE   $         3,000.00
                                                                                                   Storage
                                       220-Volt Phase 1 Amps 0.14
                                                 Blipack
                                                                                                  Equipment
   QbD-0019                           Model # 204E Serial # 2461296                                               OUT OF SERVICE   $        15,000.00
                                                                                                   Storage
                                    220V 60HZ 3 pase 13.2 13.0 12.5
                                          Romaco Hapa Printer
                                      Model # H-226-I Serial 21902                                Equipment
   QbD-0020                                                                                                       OUT OF SERVICE   $          500.00
                                                                                                   Storage
                                 Year 2003, 400V Phase 3 Control Volt 24
                    Auxilary Voltage 130 Map Full Load current 12A, Map full rating 16A
                                              Hytrol Coveyor
   QbD-0022                           Model # TDL Serial # 248546                                   SP4             IN SERVICE     $         1,250.00
                                90 Volt 3.5 Amps HZ Focus Drive Control
                                         10'8" SS 129" Conveyor
   QbD-0023                                    Baldor Motor                                         SP3             IN SERVICE     $         1,000.00
                                        250 Volt 3 Phase 3.4 Amp
                                 Hytrol Conveyor 126" Control Arrow Hart
                                                                                                  Equipment
   QbD-0024                              Model # N/A Serial # N/A                                                 OUT OF SERVICE   $         2,000.00
                                                                                                   Storage
                                        240 Volt 3 Phase 7.5 AMP
                                           Blipack DFS Feeder
                                                                                                  Equipment
   QbD-0025                                                                                                       OUT OF SERVICE   $         6,000.00
                                  Model # DFS Serial # JLUSG06017                                  Storage
                                      220 Volt HZ 60 Frequency
                                      Central Hydraulics ATV Lift
   QbD-0026                       Model/Item # 02792 Serial # AJ38790                                P2             IN SERVICE         in ADD 11
                                             1500lb Capacity
                                                Blipack
   QbD-0028                            Model # 204 Serial # 239896                                   P3             IN SERVICE     $        22,000.00
                                              220 Volt HZ60
                                              Romaco Hapa
                                       Model # 223 Serial # 21090
   QbD-0029                                                                                          P3             IN SERVICE     $         8,000.00
                                    Control 24 Auxiliary Voltage 70/130
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                                 Case 25-90538-AKM-11                   Doc 1       Filed 05/05/25      EOD 05/05/25 16:39:52    Pg 20 of 61
                             May Full load current 12A Mex rating Fuxe 16 A
                                             Neslab Instruments
                         Moedel # CFT-75 BOM # 395104040202/ Serial # 197309097
   QbD-0030                                                                                    P3             IN SERVICE     $      1,500.00
                                Recirculating Chiller HZ60 AMPS 9.7 Phase 1
                    Refrigerant -Type R134A Amount : 12.5 02 Pump Type (s) IP02 1/3 HP
                                           120" Grey Conveyor                               Equipment
   QbD-0031                                                                                                 OUT OF SERVICE   $       750.00
                                         Baloor Motor 115/208 6.3                            Storage




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                             Case 25-90538-AKM-11                     Doc 1      Filed 05/05/25       EOD 05/05/25 16:39:52     Pg 21 of 61
                                            3M-Matic
   QbD-0032                       Model # 28600 Serial # 5035                               Aux             IN SERVICE     $         2,250.00
                                     115 Volt HZ60 160 Watt
                                       Central Hyrdaulics
   QbD-0033                                                                                  P3             IN SERVICE         in ADD 11
                             ATV Lift Model # tem02792 Serial # N/A
                                Econoseal Type E-2000 (Cartoner)
                                    Model # 7423 Serial # 7806
   QbD-0034                                                                                 Aux           OUT OF SERVICE   $        11,000.00
                      Date of Mfg. 07-22-02 Electrical 220 Volt 60HZ 1 Phase
                            10AMP Pneumatic 5.5 bar/5.2l/Min 100PSI
                                 SEPHA Blister packing solutions
                                   Model # N/A Serial # MU003
                                     Mini Press-Out Universal
   QbD-0035                                                                                 Aux           OUT OF SERVICE   $         2,500.00
                                    110 Volt Frequency 50/60HZ
                                      Rated Current 0.1 AMP
                                           Year Mfg. 2006
                                         Penway Inc. Tank
                                     MAWP 150 PSI at 450 °F                              Compressor
   QbD-0039                               MAEP----PSI at                                                    IN SERVICE     $         1,500.00
                                                                                           Room
                         Year 2011 Serial # A31050 WC 400 SH180 HD148
                                           CRM # V18622
                                  Beseler Shrink Film Equipment                          Equipment
   QbD-0040                    Model # T-16-8-D Serial # 004971609                                        OUT OF SERVICE   $         1,500.00
                                                                                          Storage
                                 220Volt Phase 1 HZ60 25 AMPS
                                  Beseler Shrink Film Equipment                          Equipment
   QbD-0041                    Model T-16-8-D Serial # # 00597089                                         OUT OF SERVICE   $         1,500.00
                                                                                          Storage
                                 Volts-220 Phase 1 HZ60 25AMPS
                                        SOCO Case Sealer
   QbD-0043                         Model # T-10 Serial 521-96                              SP4             IN SERVICE     $         3,500.00
                                   1 Phase 110-Voltz Year 1996
                                          Beseler L-Sealer
                                                                                         Equipment
   QbD-0044                        Model # N/A Serial # 4971571                                           OUT OF SERVICE   $         2,000.00
                                                                                          Storage
                                             110 Voltz
                                        Neslab Instruments
   QbD-0045                   BOM # 395104030103 Serial 796198001                            P2           OUT OF SERVICE   $         1,500.00
                       208-230 Voltz 8.7 AMPS 60 HZ 1 Phase 14.0 OZ R134
                                   SEPHA Press Out Deblisterer
                                          Leeson Motor
   QbD-0047                                                                                 Aux             IN SERVICE     $         1,500.00
                           Model #CM-38P17f211C Cat. # M1145032.00
                                      115 Voltz/230 2.111AMP
                    Blue M Electric Company Dry Type Bacteriological Incubator
                                   Model # 200 A Serial # 2419
   QbD-0050                                                                             Clean Storage       IN SERVICE     $          750.00
                               1200 Voltz 1 Phase 60HZ 225 Watts
                         Temperature Range 86°F to 140°F 30°C to 65°C
                                         EZ-Taper
   QbD-0051                       Model # SB-2 Serial # C0110                               Aux             IN SERVICE     $         2,000.00
                               110 Voltz 4 AMPS HZ 50 RPM 1420
                                        Alloyd Heat Seal
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                          Model # 13SL1428 CC Serial #M2004-047
   QbD-0052         160 PSI 230 Voltz 3 Phase 54 Amps HZ60 Hiar CFM 60             SP4          IN SERVICE   $      22,000.00
                                     Date of Mfg. 10-21-04
                                        PSI 100 CPM 20
                                      70 "Hytro Conveyor
   QbD-0053                     Model # TAL Serial # 248545                        SP4          IN SERVICE   $       1,250.00
                                    110 Voltz 1.0 Amps




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                                Case 25-90538-AKM-11                   Doc 1          Filed 05/05/25       EOD 05/05/25 16:39:52     Pg 23 of 61
                                           Dynatec Glue Dot
                                 Model # N52P122F Serial # 207775-A
   QbD-0054                                                                                      SP4             IN SERVICE     $         1,750.00
                           220-240 Voltz 1Phase 50/60 HZ 30.0 AMPS 100 PSI
                                               Ver. 2.06
                                         127" Hytrol Conveyor
   QbD-0055                           Model # TA Serial # 293866                                    P3           IN SERVICE     $         2,000.00
                                       480 Voltz 3 Phase 20AMP
                                             Zed Heat Seal
                                                                                              Equipment
   QbD-0056                           Model # 15 Serial # 180M1006                                             OUT OF SERVICE   $         5,000.00
                                                                                               Storage
                    100 PSI 110 Voltz Phase 1 Style 111-6 Size 14 x 15 30 AMPS HZ60
                                        Donaldson Dust Collector
                                                                                              Compressor
   QbD-0058                        Model # VS 1200 Serial # IG422092                                             IN SERVICE     $         2,500.00
                                                                                                Room
                               208-460 Voltz 3Phase 60HZ 345 RPM 3HP
                                            Crown Lift Truck
   QbD-0059                                                                                     Whse             IN SERVICE     $        10,000.00
                                  Model # 3020-40 Serial # 1A289074
                                             Lantech Stretch
                                                                                             Whse South
   QbD-0060                        Model # Q-300 Serial # QM006642                                               IN SERVICE     $         8,000.00
                                                                                                Wall
                                     115 Voltz 2.0AMP 50/60 Hertz
                                      Bull Dog Battery Charger
                                  Model # 18120C Serial # 02095478
                                                                                             Whse South
   QbD-0061          Cust Model 18Q725c23 Type/Cellis LA/18 AC Voltz 208/240/480                                 IN SERVICE     $          750.00
                                                                                                Wall
                     AC AMPS 20.8/ 118/ 9 HZ60 Phase 3 DC Voltz 36 Dcamps 120
                           AMP Hours 601-725 File UL-E62584 CUL-E62584
                                           Sampling Booth
                                                                                             Whse    East
   QbD-0063                               Serial # B10030675                                                     IN SERVICE     $         2,000.00
                                                                                                Wall
                                          110 Voltz 10 AMPS
                                           Zenith Hand Truck
   QbD-0064                           Model # N/A Serial # 31064                              Label Cage         IN SERVICE         in ADD 11
                                          Capacity 5500lbs
                                         Wesco Hand Truck
   QbD-0065                                                                                      Maint           IN SERVICE         in ADD 11
                                       Model # N/A Serial # N/A
                                            Acculab Scale
   QbD-0066                       Model # VIC-303 Serial # 25354558                             Quality          IN SERVICE         in ADD 11
                                               110 Voltz
                                      Govee Thermo Hygrometer
   QbD-0067                                                                                  Whse    LOC 1       IN SERVICE         in ADD 11
                                       Serial # ZS41D48301433
                                      Govee Thermo Hygrometer
   QbD-0068                                                                                  Whse    LOC 2       IN SERVICE         in ADD 11
                                       Serial # ZS41D48301433
                                      Govee Thermo Hygrometer
   QbD-0069                                                                                  Whse    LOC 3       IN SERVICE         in ADD 11
                                       Serial # ZS41D48301433
                                      Govee Thermo Hygrometer
   QbD-0070                                                                                  Whse    LOC 4       IN SERVICE         in ADD 11
                                       Serial # ZS41D48301433
                                      Govee Thermo Hygrometer
   QbD-0071                                                                                         P1           IN SERVICE         in ADD 11
                                       Serial # ZS41D48301433
                                      Govee Thermo Hygrometer
   QbD-0072                                                                                         P2           IN SERVICE         in ADD 11

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   QbD-0072                                                                              P2             IN SERVICE            in ADD 11
                                     Serial # ZS41D48301433
                                   Govee Thermo Hygrometer
   QbD-0073                                                                             P3              IN SERVICE           in ADD 11
                                     Serial # ZS41D48301433
                                   Govee Thermo Hygrometer
   QbD-0074                                                                             SP4             IN SERVICE           in ADD 11
                                     Serial # ZS41D48301433
                                   Govee Thermo Hygrometer
   QbD-0075                                                                          Label Cage         IN SERVICE            in ADD 11
                                     Serial # ZS41D48301433
                                   Atlas Copco Air Compressor
                                                                                     Compressor
   QbD-0077                              Serial# AIF068551                                              IN SERVICE     $            5,000.00
                                                                                       Room
                                           Model # ZT37
                                  3M-Matic Case Tape Machine
   QbD-0078                                                                             Aux             IN SERVICE     $            3,000.00
                                           Serial #3259
                                        Air Handler for P1
                       Model # AAM7A0B301121SAA Serial# 11455MSK5V                   Mech Room
   QbD-0079                                                                                             IN SERVICE         part of building
                                                                                      2nd Floor
                        Motor HP 1/2, FL Amps 3.0, Volts 200-230 1ph 60 hz
                                   Manufacture Date: Nov 2011
                                       Air Handler for P2
                        Model# AAM7A0A24H21SAA Serial# 11394LFLAV                    Mech Room
   QbD-0080                                                                                             IN SERVICE         part of building
                        Motor HP 1/2, FL Amps 3.0, Volts 200-230 1ph 60 hz            2nd Floor
                                   Manufacture Date: Sept 2011
                                       Air Handler for P3
                        Model# AAM7A0A24H21SAA Serial# 11413PN8AV                    Mech Room
   QbD-0081                                                                                             IN SERVICE         part of building
                        Motor HP 1/2, FL Amps 3.0, Volts 200-230 1ph 60 hz            2nd Floor
                                  Manufacture Date: Oct 2011
                                     O'haus Platform Scale
   QbD-0082                                                                            Whse             IN SERVICE     $             2,500.00
                               Model SD200L Serial #0626115JBS
QbD-0083 (ADD                        Slat Counter Machine                            Equipment
                                                                                                      OUT OF SERVICE   $           13,000.00
     4)                            Model SC6L Serial #161                             Storage
                                        Great Lakes Air
QbD-0088 (ADD                         Refrigerated Air Dryer                         Compressor
                                                                                                        IN SERVICE     $            2,500.00
     9)                              Model # GRF-250A-436                              Room
                                       Serial # AFF.068551
                                   Aprilaire Dehumidifier for P1
                                                                                     Mech Room
   QbD-0089                                Model # 1850                                                 IN SERVICE         part of building
                                                                                      2nd Floor
                                     Serial # 232014A84999
                                   Aprilaire Dehumidifier for P2
                                                                                     Mech Room
   QbD-0090                                Model # 1850                                                 IN SERVICE         part of building
                                                                                      2nd Floor
                                     Serial # 162014A82027
                                   Aprilaire Dehumidifier for P3
                                                                                     Mech Room
   QbD-0091                                Model # 1850                                                 IN SERVICE         part of building
                                                                                      2nd Floor
                                     Serial # 162014A81984
                            Emergency Lighting And Power Equipment
   QbD-0092                  Cat. No. E-XMDRB2RCW Serial # N/A                                          IN SERVICE         part of building
                      Location Warehouse North Door by Shipping Office
                            Emergency Lighting And Power Equipment
   QbD-0093                  Cat. No. E-XMDRB2RCW Serial # N/A                                          IN SERVICE         part of building
                    Location Warehouse East Door by Sampling Booth/Rack

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                       Emergency Lighting And Power Equipment
   QbD-0094             Cat. No. E-XMDRB2RCW Serial # N/A                                IN SERVICE    part of building
                    Location Warehouse South Door Under Rack
                       Emergency Lighting And Power Equipment
   QbD-0095             Cat. No. E-XMDRB2RCW Serial # N/A                                IN SERVICE    part of building
                    Location Warehouse South Door By Wrapper
                       Emergency Lighting And Power Equipment
   QbD-0096             Cat. No. E-XMDRB2RCW Serial # N/A                                IN SERVICE    part of building
                       Location Hallway West Side Of Building
                       Emergency Lighting And Power Equipment
   QbD-0097             Cat. No. E-XMDRB2RCW Serial # N/A                                IN SERVICE    part of building
                           Location Mens R/R Over Urinal
                       Emergency Lighting And Power Equipment
   QbD-0098             Cat. No. E-XMDRB2RCW Serial # N/A                                IN SERVICE    part of building
                           Location Mens R/R North Door
                       Emergency Lighting And Power Equipment
   QbD-0099             Cat. No. E-XMDRB2RCW Serial # N/A                                IN SERVICE    part of building
                          Location Womens R/R Over Stall
                       Emergency Lighting And Power Equipment
   QbD-0100             Cat. No. E-XMDRB2RCW Serial # N/A                                IN SERVICE    part of building
                         Location Womens R/R North Door
                       Emergency Lighting And Power Equipment
   QbD-0101             Cat. No. E-XMDRB2RCW Serial # N/A                                IN SERVICE    part of building
                      Location Clean Room Hallway West Door




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                      Emergency Lighting And Power Equipment
   QbD-0102             Cat. No. E-XMDRB2RCW Serial # N/A                                           IN SERVICE    part of building
                     Location Clean Room Hallway Middle Door
                      Emergency Lighting And Power Equipment
   QbD-0103             Cat. No. E-XMDRB2RCW Serial # N/A                                           IN SERVICE    part of building
                    Location Clean Room Hallway East Exit Door
                      Emergency Lighting And Power Equipment
   QbD-0104             Cat. No. E-XMDRB2RCW Serial # N/A                                           IN SERVICE    part of building
                      Location Airlock To Women R/R West
                      Emergency Lighting And Power Equipment
   QbD-0105             Cat. No. E-XMDRB2RCW Serial # N/A                                           IN SERVICE    part of building
                        Location Airlock To Men R/R East
                      Emergency Lighting And Power Equipment
   QbD-0106             Cat. No. E-XMDRB2RCW Serial # N/A                                           IN SERVICE    part of building
                        Location Breakroom By Time Clock
                      Emergency Lighting And Power Equipment
   QbD-0107             Cat. No. E-XMDRB2RCW Serial # N/A                                           IN SERVICE    part of building
                       Location Breakroom Above Exit Door
                      Emergency Lighting And Power Equipment
   QbD-0108             Cat. No. E-XMDRB2RCW Serial # N/A                                           IN SERVICE    part of building
                               Location Hall To Office
                      Emergency Lighting And Power Equipment
   QbD-0109             Cat. No. E-XMDRB2RCW Serial # N/A                                           IN SERVICE    part of building
                             Location Maintenance Shop
                      Emergency Lighting And Power Equipment
   QbD-0110             Cat. No. E-XMDRB2RCW Serial # N/A                                           IN SERVICE    part of building
                      Location Exit Door Label / Material Cage
                                   York Air Handler
   QbD-0111                   Model # DM240M32P4AAC1                           Outside East         IN SERVICE    part of building
                                  Serial # N0L4051382
                                   York Air Handler
   QbD-0112                   Model # DM240M32P4AAC1                          Outside South         IN SERVICE    part of building
                                  Serial # N0L4051383
                      Emergency Lighting And Power Equipment
   QbD-0113             Cat. No. E-XMDRB2RCW Serial # N/A                                           IN SERVICE    part of building
                              Location Office Entrance
                      Emergency Lighting And Power Equipment
   QbD-0114             Cat. No. E-XMDRB2RCW Serial # N/A                                           IN SERVICE    part of building
                       Location Office Entrance to Vestibule
                      Emergency Lighting And Power Equipment
   QbD-0115            Cat. No. E-XMDRB2RCW Serial # N/A                                            IN SERVICE    part of building
                         Location Storage area to Office
                             Air Handler for Front Office
   QbD-0116                 Model # AAM7A0636H315AA                            Label Cage           IN SERVICE    part of building
                                 Serial # 11461K535V
                                Air Handler for SP4
   QbD-0117                 Model # AAM7A0648H415AA                            Break Room           IN SERVICE    part of building
                               Serial # 11464T935V
                            Air Handler for Break Room
   QbD-0118                 Model # AAM7A0636H315AA                            Break Room           IN SERVICE    part of building

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                           Serial # 11461DLYAV
                     Air Handler for Production Hallway
                                                                          2nd Floor
   QbD-0119                     Model # n/a                                                 IN SERVICE       part of building
                                                                          Mezzanine
                             Serial # B1108011
                       Air Handler for Quality Office
                                                                          2nd Floor
   QbD-0120                    Model # n/a                                                  IN SERVICE       part of building
                                                                          Mezzanine
                            Serial # B10030675
                          Crane w/ Electric Hoist
QbD-0121 (ADD
                               Model # n/a                                  Whse            IN SERVICE   $            1,000.00
     1)
                               Serial # n/a




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                               Global Hand Truck
   QbD-0122                        Model # n/a                                 Whse            IN SERVICE           in ADD 11
                                Serial # C699444
                               Global Hand Truck
   QbD-0123                        Model # n/a                                Air Lock         IN SERVICE           in ADD 11
                                Serial # C701164
                    Emergency Lighting And Power Equipment
   QbD-0124          Cat. No. E-XMDRB2RCW Serial # N/A                                         IN SERVICE         part of building
                      Location Hallway to Quality Office
                          Wayne Overhead Door - East
   QbD-0125                                                                    Whse            IN SERVICE         part of building
                                  Model #2415
                          Wayne Overhead Door - West
   QbD-0126                                                                    Whse            IN SERVICE         part of building
                                  Model #2415
                           SERCO Dock Leveler - East
   QbD-0127                                                                    Whse            IN SERVICE         part of building
                                 Model # AB6X8
                          SERCO Dock Leveler - West
   QbD-0128                                                                    Whse            IN SERVICE         part of building
                                 Model # AB6X8
                                   Hand Truck
   QbD-0129                        Model #n/a                                  Whse            IN SERVICE           in ADD 11
                                 Serial #1424010
                                   Hand Truck
   QbD-0130                      Model #5NP21                                  Whse            IN SERVICE           in ADD 11
                                   Serial #n/a
   QbD-0131              Sumeve P110 Pneumatic Filler                           P2             IN SERVICE     $              300.00

   QbD-0132                Hand Held Induction Sealer                           P2             IN SERVICE     $              200.00

   QbD-0133                          Scale                                      P2             IN SERVICE     $              500.00

                             Neweco Tube Filler
   QbD-0134                                                                     P2             IN SERVICE     $           52,000.00
                               Model NTT-200
                          Pack Leader Bottle Labeler
   QbD-0135                                                                     SP1            IN SERVICE     $            8,000.00
                               Model #ELF-50
                         Modine Hot Dawg Gas Heater                          NE Corner
   QbD-0137                                                                                    IN SERVICE     $            6,000.00
                           Model #HD125AS0111N                                 Whse
                         Modine Hot Dawg Gas Heater                          SW Corner
   QbD-0138                                                                                    IN SERVICE     $            6,000.00
                           Model #HD125AS0111N                                 Whse

     ADD 2                   Sum of Pallet Racking                             Whse            IN SERVICE     $            8,000.00

     ADD 3                        Inkjet Coder                                 Whse            IN SERVICE     $            1,000.00

     ADD 5                         Conveyor                                     P3             IN SERVICE     $            2,000.00

     ADD 6             Sum of Tooling for Blister Machines                     Whse            IN SERVICE     $           30,000.00

                                                                             2nd Floor
     ADD 7              Reverse Osmosis Water System                                         OUT OF SERVICE   $            7,500.00
                                                                             Mezzanine
                                                                             2nd Floor
     ADD 8                  Stratix Bar Code Verifier                                          IN SERVICE     $            1,000.00
                                                                             Mezzanine
    ADD 10                  Sum of Office Equipment                                            IN SERVICE     $           13,000.00
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                    Case 25-90538-AKM-11                 Doc 1   Filed 05/05/25   EOD 05/05/25 16:39:52   Pg 29 of 61
    ADD 10               Sum of Office Equipment                                        IN SERVICE   $      13,000.00

    ADD 11           Sum of Plant Supporting Equipment                     Whse         IN SERVICE   $      38,000.00

    ADD 12                     Folder/Gluer                                 P4          IN SERVICE   $      13,000.00




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             Case 25-90538-AKM-11                                Doc 1       Filed 05/05/25             EOD 05/05/25 16:39:52                      Pg 30 of 61
  Fill in this information to identify the case:
              QBD Packaging LLC
  Debtor name __________________________________________________________________
                                          _______________________________________
  United States Bankruptcy Court for the: Southern  District of Indiana

  Case number (If known):       _________________________                                                                                               Check if this is an
                                                                                                                                                            amended filing
 Official Form 206D
 Sc he dule D: Cre dit ors Who H a ve Cla im s Se c ure d by Prope rt y                                                                                                12/15
 Be as complete and accurate as possible.

 1. Do any creditors have claims secured by debtor’s property?
     No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
     Yes. Fill in all of the information below.
 Pa rt 1 :      List Cre dit ors Who H a ve Se c ure d Cla im s
                                                                                                                                 Column A                  Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one
    secured claim, list the creditor separately for each claim.                                                                  Amount of claim           Value of collateral
                                                                                                                                 Do not deduct the value   that supports this
2.1 Creditor’s name                                               Describe debtor’s property that is subject to a lien           of collateral.            claim
     Jackson County Bank                                          2710 Montgomery Drive, Seymour, IN
      __________________________________________
                                                                  (Industrial building with 21,984 square feet                     573,295.00
                                                                                                                                 $__________________          1,877,000.00
                                                                                                                                                            $_________________

     Creditor’s mailing address
                                                                  on 1.82 acres), Machinery (as detailed on
                                                                  attached form)
      125 S. Chestnut Street
      ________________________________________________________
      Seymour, IN 47274
      ________________________________________________________

                                                                  Describe the lien
    Creditor’s email address, if known
                                                                  Agreement    you made, Judgment
                                                                  _________________________________________________
      _________________________________________
                                                                  Is the creditor an insider or related party?
    Date debt was incurred            04/29/2021
                                     __________________            
                                                                   ✔ No

    Last 4 digits of account                                        Yes
    number                   _________________                     Is anyone else liable on this claim?
    Do multiple creditors have an interest in the                   No
    same property?                                                 
                                                                   ✔ Yes. Fill out Schedule H: Codebtors (Official Form 206H).

    
    ✔
      No
                                                                   As of the petition filing date, the claim is:
     Yes. Specify each creditor, including this creditor,
                                                                   Check all that apply.
                                                                    Contingent
                                                                    Unliquidated
                                                                    Disputed
2.2 Creditor’s name                                               Describe debtor’s property that is subject to a lien
                                                                                                                                 $__________________        $_________________
      __________________________________________
     Creditor’s mailing address
      ________________________________________________________

      ________________________________________________________


    Creditor’s email address, if known
      _________________________________________
                                                                   Describe the lien
    Date debt was incurred __________________
    Last 4 digits of account                                       _________________________________________________
    number                   _________________
                                                                   Is the creditor an insider or related party?
    Do multiple creditors have an interest in the                   No
    same property?                                                  Yes
     No                                                           Is anyone else liable on this claim?
     Yes. Have you already specified the relative                  No
           priority?
                                                                    Yes. Fill out Schedule H: Codebtors (Official Form 206H).
          No. Specify each creditor, including this
                creditor, and its relative priority.               As of the petition filing date, the claim is:
                                                                   Check all that apply.
                                                                    Contingent
          Yes. The relative priority of creditors is               Unliquidated
                   specified on lines _____                         Disputed
 3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                    573,295.00
                                                                                                                                  $________________
    Page, if any.
   Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                          2
                                                                                                                                                              page 1 of ___
            Case 25-90538-AKM-11                    Doc 1        Filed 05/05/25             EOD 05/05/25 16:39:52                    Pg 31 of 61
Debtor
               QBD Packaging LLC
               _______________________________________________________                            Case number (if known)_____________________________________
               Name



Pa rt 2 :    List Ot he rs t o Be N ot ifie d for a De bt Alre a dy List e d in Pa rt 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
agencies, assignees of claims listed above, and attorneys for secured creditors.

If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

                                                                                                                On which line in Part 1      Last 4 digits of
         Name and address
                                                                                                                did you enter the            account number
                                                                                                                related creditor?            for this entity
     William M. Braman
     Lorenzo Bevers Braman & Connell
     218 West Second Street                                                                                            1
                                                                                                               Line 2. __                    _________________
     Seymour, IN, 47274


                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




Form 206D                          Official Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                 page ___
                                                                                                                                                      2 of ___
                                                                                                                                                           2
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      Fill in this information to identify the case:

      Debtor
                      QBD Packaging LLC
                      __________________________________________________________________

                                              Southern District of Indiana
      United States Bankruptcy Court for the: ________________________________

      Case number      ___________________________________________
      (If known)

                                                                                                                                          Check if this is an
                                                                                                                                             amended filing
  Official Form 206E/F
  Sc he dule E/F: Cre dit ors Who Ha ve U nse c ure d Cla im s                                                                                         12/15
  Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
  unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
  on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
  (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
  the Additional Page of that Part included in this form.

 Pa rt 1 :         List All Cre ditors w ith PRI ORI T Y U nse c ure d Cla im s

 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
       No. Go to Part 2.
      
      ✔ Yes. Go to line 2.


 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
       3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                            Total claim                  Priority amount
2.1 Priority creditor’s name and mailing address               As of the petition filing date, the claim is: $______________________
                                                                                                              44,547.94
    Jackson County Treasurer                                                                                                             $_________________
                                                               Check all that apply.
    111 S. Main Street, Suite 124                               Contingent
    Brownstown, IN 47220                                        Unliquidated
                                                                Disputed
                                                               Basis for the claim:
      Date or dates debt was incurred                           Taxes & Other Government Units
      _________________________________

      Last 4 digits of account                                 Is the claim subject to offset?
      number      _______________________                      ✔ No

                                                                Yes
      Specify Code subsection of PRIORITY unsecured
                                  8
      claim: 11 U.S.C. § 507(a) (_____)
      Priority creditor’s name and mailing address
2.2                                                            As of the petition filing date, the claim is: $______________________     $_________________
                                                               Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
                                                               Basis for the claim:
      Date or dates debt was incurred
      _________________________________

      Last 4 digits of account
      number      _______________________                      Is the claim subject to offset?
                                                                No
      Specify Code subsection of PRIORITY unsecured             Yes
      claim: 11 U.S.C. § 507(a) (_____)

2.3 Priority creditor’s name and mailing address               As of the petition filing date, the claim is: $______________________     $_________________
                                                               Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
                                                               Basis for the claim:
      Date or dates debt was incurred
      _________________________________

      Last 4 digits of account
      number      _______________________                      Is the claim subject to offset?
                                                                No
      Specify Code subsection of PRIORITY unsecured             Yes
      claim: 11 U.S.C. § 507(a) (_____)



  Official Form 206E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                                 6
                                                                                                                                              page 1 of ___
             Case
               QBD25-90538-AKM-11
                  Packaging LLC                     Doc 1        Filed 05/05/25               EOD 05/05/25 16:39:52                   Pg 33 of 61
  Debtor        _______________________________________________________                              Case number (if known)_____________________________________
                Name


 Pa rt 2 :   List All Cre ditors w ith NONPRI ORI T Y U nse c ure d Cla ims

 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                               Amount of claim
                                                                           As of the petition filing date, the claim is:
3.1 Nonpriority creditor’s name and mailing address                        Check all that apply.
    Aflac                                                                                                                      363.48
                                                                                                                             $________________________________
                                                                            Contingent
    1932 Wynnton Road                                                       Unliquidated
    Columbus, GA 31999                                                      Disputed
                                                                                                   Services
                                                                           Basis for the claim:



    Date or dates debt was incurred            ___________________          Is the claim subject to offset?

    Last 4 digits of account number            ___________________         
                                                                           ✔ No
                                                                            Yes
3.2 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    B & H Electric Supply                                                  Check all that apply.                               16.05
                                                                                                                             $________________________________
    740 C. Avenue Freeman Field                                             Contingent
    P.O. Box 1005                                                           Unliquidated
    Seymour, IN 47274                                                       Disputed
                                                                           Basis for the claim:



    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                           
                                                                           ✔ No
    Last 4 digits of account number            A175
                                               __________________           Yes
                                                                           As of the petition filing date, the claim is:
3.3 Nonpriority creditor’s name and mailing address                        Check all that apply.
    Best Way Disposal                                                                                                          234.12
                                                                                                                             $________________________________
                                                                            Contingent
    2577 Kentucy Avenue                                                     Unliquidated
    Indianapolis, IN 46221                                                  Disputed
                                                                           Basis for the claim:
                                                                                                   Services

    Date or dates debt was incurred            ___________________
                                                                            Is the claim subject to offset?
    Last 4 digits of account number            0855
                                               __________________          
                                                                           ✔ No

                                                                            Yes
3.4 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Colbert Packaging Corporation                                          Check all that apply.
                                                                                                                               77,620.01
                                                                                                                             $________________________________
    1511 W. Lusher Avenue                                                   Contingent
    Elkhart, IN 46517                                                       Unliquidated
                                                                            Disputed
                                                                            Basis for the claim:
                                                                                                   Suppliers or Vendors

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?

    Last 4 digits of account number            QBDPKG
                                               __________________          
                                                                           ✔
                                                                             No
                                                                            Yes
3.5 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Comcast Cable                                                                                                              425.40
                                                                                                                             $________________________________
                                                                           Check all that apply.
    P.O. Box 7500                                                           Contingent
    Southeastern, PA 19398-7500                                             Unliquidated
                                                                            Disputed
                                                                           Basis for the claim:
                                                                                                   Utility Services

    Date or dates debt was incurred            ___________________
                                                                           Is the claim subject to offset?
    Last 4 digits of account number            __________________          
                                                                           ✔ No
                                                                            Yes
3.6 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Duke Energy                                                                                                                3,991.23
                                                                                                                             $________________________________
                                                                           Check all that apply.
    P.O. Box 1327                                                           Contingent
    Charlotte, NC 28201                                                     Unliquidated
                                                                            Disputed
                                                                           Basis for the claim:    Utility Services

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
    Last 4 digits of account number            ___________________
                                               E+11                        
                                                                           ✔
                                                                             No
                                                                            Yes

    Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                                  page __    6
                                                                                                                                                           2 of ___
             Case
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  Debtor          _______________________________________________________                    Case number (if known)_____________________________________
                  Name



Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             24,875.00
                                                                                                                     $________________________________
 First Financial Bank                                                 Contingent
 225 Pictoria Drive, Suite 120                                        Unliquidated
 Cincinnati, OH 45246                                                 Disputed
                                                                     Basis for the claim: Monies Loaned / Advanced



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number       7964
                                              ___________________
  8
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       378.87
                                                                                                                     $________________________________
 Flexi-Print
 50 Commercial Avenue                                                 Contingent
 Moonachie, NJ 07074                                                  Unliquidated
                                                                      Disputed
                                                                     Basis for the claim: Services



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  9
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 General Rubber                                                      Check all that apply.
                                                                                                                      353.33
                                                                                                                     $________________________________
 1007 W. Brown Street                                                 Contingent
 Seymour, IN 47274                                                    Unliquidated
                                                                      Disputed
                                                                     Basis for the claim: Services



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  10
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      85.45
                                                                                                                     $________________________________
 Great American Financial Service                                    Check all that apply.
 P.O. Box 660831                                                      Contingent
 Dallas, TX 75266                                                     Unliquidated
                                                                      Disputed
                                                                     Basis for the claim: Services



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                              8000                
                                                                  ✔
                                                                    No
        Last 4 digits of account number       ___________________  Yes
  11
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Indiana American Water                                              Check all that apply.
                                                                                                                       213.33
                                                                                                                     $________________________________
 P.O. Box 6029                                                        Contingent
 Carol Stream, IL 60197                                               Unliquidated
                                                                      Disputed
                                                                     Basis for the claim: Utility Services



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes



       Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                                       6
                                                                                                                                                   3 of ___
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             Case
               QBD25-90538-AKM-11
                  Packaging LLC                  Doc 1       Filed 05/05/25             EOD 05/05/25 16:39:52                 Pg 35 of 61
  Debtor          _______________________________________________________                    Case number (if known)_____________________________________
                  Name



Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  12
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             1,532.10
                                                                                                                     $________________________________
 IPFS Corporation                                                     Contingent
 P.O. Box 412086                                                      Unliquidated
 Kansas City, MO 64141                                                Disputed
                                                                     Basis for the claim: Services



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number       7262
                                              ___________________
  13
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       12,399.20
                                                                                                                     $________________________________
 Liveo Research, Inc.
 1389 School House Road                                               Contingent
 New Castle, DE 19720                                                 Unliquidated
                                                                      Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       3296
                                              ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  14
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Nnodum Pharmacuetical                                               Check all that apply.
                                                                                                                      138,200.00
                                                                                                                     $________________________________
 483 Northland Blvd                                                   Contingent
 Cincinnati, OH 45240                                                 Unliquidated
                                                                      Disputed
                                                                     Basis for the claim: Monies Loaned / Advanced



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  15
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      856.50
                                                                                                                     $________________________________
 PCA                                                                 Check all that apply.
 3460 Commerce Drive                                                  Contingent
 Columbus, IN 477201                                                  Unliquidated
                                                                      Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                              0001                
                                                                  ✔
                                                                    No
        Last 4 digits of account number       ___________________  Yes
  16
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Plymate                                                             Check all that apply.
                                                                                                                       2,604.12
                                                                                                                     $________________________________
 819 Elston Drive                                                     Contingent
 Shelbyville, IN 46176                                                Unliquidated
                                                                      Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________
                                              5714                    Yes



       Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                                       6
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             Case
               QBD25-90538-AKM-11
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  Debtor          _______________________________________________________                    Case number (if known)_____________________________________
                  Name



Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  17
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             4,999.00
                                                                                                                     $________________________________
 Reliable Comfort                                                     Contingent
 2601 Montgomery Drive                                                Unliquidated
 Seymour, IN 47274                                                    Disputed
                                                                     Basis for the claim: Services



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number       ___________________
  18
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       2,260.51
                                                                                                                     $________________________________
 Secura Insurance
 P.O. Box 819                                                         Contingent
 Appleton, WI 54912                                                   Unliquidated
                                                                      Disputed
                                                                     Basis for the claim: Services



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       4462
                                              ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  19
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Stuckwisch Outdoor Services                                         Check all that apply.
                                                                                                                      785.00
                                                                                                                     $________________________________
 2042 N. County Road 950 E                                            Contingent
 Seymour, IN 47274                                                    Unliquidated
                                                                      Disputed
                                                                     Basis for the claim: Services



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                       No
                                                                      Yes
  20
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      1,049.55
                                                                                                                     $________________________________
 Vectren Energy                                                      Check all that apply.
 P.O.Box 6248                                                         Contingent
 Indianapolis, IN 46206                                               Unliquidated
                                                                      Disputed
                                                                     Basis for the claim: Utility Services



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.                           $________________________________
                                                                      Contingent
                                                                      Unliquidated
                                                                      Disputed
                                                                     Basis for the claim:



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                      No
        Last 4 digits of account number       ___________________     Yes



       Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                                       6
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                                                                                                                                              page __
            Case
              QBD25-90538-AKM-11
                 Packaging LLC                  Doc 1       Filed 05/05/25         EOD 05/05/25 16:39:52                   Pg 37 of 61
 Debtor        _______________________________________________________                    Case number (if known)_____________________________________
               Name



Pa rt 4 :    T ot a l Amount s of the Priority a nd N onpriorit y Unse c ure d Cla im s


5. Add the amounts of priority and nonpriority unsecured claims.




                                                                                                                  Total of claim amounts



5a. Total claims from Part 1                                                                         5a.
                                                                                                                    44,547.94
                                                                                                                  $_____________________________




5b. Total claims from Part 2                                                                         5b.    +       273,242.25
                                                                                                                  $_____________________________




5c. Total of Parts 1 and 2                                                                                          317,790.19
                                                                                                     5c.          $_____________________________
   Lines 5a + 5b = 5c.




   Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                           page __    6
                                                                                                                                                6 of ___
          Case 25-90538-AKM-11                     Doc 1        Filed 05/05/25            EOD 05/05/25 16:39:52                   Pg 38 of 61

 Fill in this information to identify the case:

             QBD Packaging LLC
 Debtor name __________________________________________________________________

                                         Southern District of Indiana
 United States Bankruptcy Court for the:______________________

 Case number (If known):    _________________________                       11
                                                                    Chapter _____



                                                                                                                                       Check if this is an
                                                                                                                                          amended filing

Official Form 206G
Sc he dule G: Ex e c ut ory Cont ra c t s a nd U ne x pire d Le a se s                                                                               12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1. Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
        Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
       Form 206A/B).
 2. List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease
                                       Copier                                           GreatAmerica Financial Svcs.
         State what the contract or                                                     P.O. Box 660831
 2.1     lease is for and the nature
         of the debtor’s interest
                                                                                        Dallas, TX, 75266

         State the term remaining
         List the contract number of
         any government contract


         State what the contract or
 2.2     lease is for and the nature
         of the debtor’s interest

         State the term remaining
         List the contract number of
         any government contract


         State what the contract or
 2.3     lease is for and the nature
         of the debtor’s interest

         State the term remaining
         List the contract number of
         any government contract


         State what the contract or
 2.4
         lease is for and the nature
         of the debtor’s interest

         State the term remaining
         List the contract number of
         any government contract


         State what the contract or
 2.5     lease is for and the nature
         of the debtor’s interest

         State the term remaining
         List the contract number of
         any government contract




Official Form 206G                          Schedule G: Executory Contracts and Unexpired Leases                                                       1
                                                                                                                                            page 1 of ___
          Case 25-90538-AKM-11                       Doc 1        Filed 05/05/25            EOD 05/05/25 16:39:52                    Pg 39 of 61
 Fill in this information to identify the case:

 Debtor name __________________________________________________________________
             QBD Packaging LLC

                                         Southern District of Indiana
 United States Bankruptcy Court for the:_______________________________

 Case number (If known):    _________________________




                                                                                                                                          Check if this is an
                                                                                                                                             amended filing
Official Form 206H
Sc he dule H : Code bt ors                                                                                                                               12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach
the Additional Page to this page.


 1. Does the debtor have any codebtors?
        No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
       
       ✔ Yes
 2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
       creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
       schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

        Column 1: Codebtor                                                                                Column 2: Creditor

                                                                                                                                             Check all schedules
            Name                      Mailing address                                                     Name
                                                                                                                                             that apply:


 2.1 Nnodum Iheme                    5105 Rollman Estates Drive                                          Jackson County Bank                 ✔ D
                                                                                                                                             
                                     Cincinnati, OH 45236                                                                                     E/F
                                                                                                                                              G




 2.2                      483 Northland Blvd.                                                                                                ✔ D
                                                                                                                                             
                          Cincinnati, OH 45240                                                                                                E/F
       Nnodum Pharmaceuticals Corp.                                                                      Jackson County Bank                  G




 2.3                                 5105 Rollman Estates Drive
                                                                                                                                             ✔ D
                                                                                                                                             
                                     Cincinnati, OH 45236
                                                                                                                                              E/F
       Nnenna Iheme                                                                                       Jackson County Bank                 G



 2.4                         4140 Salem Avenue
                                                                                                                                             ✔ D
                                                                                                                                             
                             Dayton, OH 45426                                                                                                 E/F
       Ziks Family Pharmacy, Inc. #102                                                                   Jackson County Bank                  G



 2.5                        886 Clinton Springs Avenue                                                                                       ✔ D
                                                                                                                                             
                            Cincinnati, OH 45226                                                                                              E/F
       Ziks Family Pharmacy #100, Inc.                                                                   Jackson County Bank                  G




 2.6
                                                                                                                                              D
                                                                                                                                              E/F
                                                                                                                                              G




Official Form 206H                                               Schedule H: Codebtors                                                                    1
                                                                                                                                               page 1 of ___
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Fill in this information to identify the case:
             QBD Packaging LLC
Debtor name __________________________________________________________________

                                        ______________________
United States Bankruptcy Court for the: Southern District of Indiana District of _________
                                                                              (State)
Case number (If known):   _________________________                                               ___________________________________________



                                                                                                                                       Check if this is an
                                                                                                                                          amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                     04/25

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).


 Part 1:        Income



 1. Gross revenue from business

     None
            Identify the beginning and ending dates of the debtor’s fiscal year, which         Sources of revenue                   Gross revenue
            may be a calendar year                                                             Check all that apply                 (before deductions and
                                                                                                                                    exclusions)

           From the beginning of the                                                            
                                                                                                ✔ Operating a business
                                                                                                                                               269,096.43
           fiscal year to filing date:     From ___________         to     Filing date           Other                             $_____________________
                                                  MM / DD / YYYY


           For prior year:                       01/01/2024
                                           From ___________         to     12/31/2024
                                                                           ___________          
                                                                                                ✔ Operating a business                         741,879.00
                                                                                                                                    $_____________________
                                                  MM / DD / YYYY            MM / DD / YYYY
                                                                                                 Other
           For the year before that:             01/01/2023
                                           From ___________         to     12/31/2023
                                                                           ___________          
                                                                                                ✔ Operating a business
                                                                                                                                               897,476.00
                                                  MM / DD / YYYY            MM / DD / YYYY                                          $_____________________
                                                                                                 Other


 2. Non-business revenue
    Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected
    from lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

     
     ✔ None

                                                                                               Description of sources of revenue    Gross revenue from each
                                                                                                                                    source
                                                                                                                                    (before deductions and
                                                                                                                                    exclusions)

           From the beginning of the
                                                                                               ___________________________         $__________________
           fiscal year to filing date: From ___________             to      Filing date
                                                  MM / DD / YYYY



           For prior year:                 From ___________         to      ___________
                                                  MM / DD / YYYY             MM / DD / YYYY    ___________________________         $__________________



           For the year before that:       From ___________         to      ___________
                                                  MM / DD / YYYY             MM / DD / YYYY    ___________________________         $__________________




 Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              page 1
            Case 25-90538-AKM-11                  Doc 1        Filed 05/05/25            EOD 05/05/25 16:39:52                     Pg 41 of 61

                 QBD Packaging LLC
Debtor           _______________________________________________________                       Case number (if known)_____________________________________
                 Name




 Part 2:        List Certain Transfers Made Before Filing for Bankruptcy

 3. Certain payments or transfers to creditors within 90 days before filing this case
    List payments or transfersincluding expense reimbursementsto any creditor, other than regular employee compensation, within 90
    days before filing this case unless the aggregate value of all property transferred to that creditor is less than $8,575. (This amount may be
    adjusted on 4/01/28 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

      None
     ✔
             Creditor’s name and address                       Dates          Total amount or value         Reasons for payment or transfer
                                                                                                            Check all that apply
     3.1.

             __________________________________________                       $_________________                 Secured debt
             Creditor’s name
                                                                                                                 Unsecured loan repayments

                                                                                                                 Suppliers or vendors

                                                                                                                 Services

                                                                                                                 Other _______________________________


     3.2.

                                                                              $_________________                 Secured debt
             __________________________________________
             Creditor’s name                                                                                     Unsecured loan repayments

                                                                                                                 Suppliers or vendors

                                                                                                                 Services

                                                                                                                 Other _______________________________


 4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
    List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
    guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
    $8,575. (This amount may be adjusted on 4/01/28 and every 3 years after that with respect to cases filed on or after the date of adjustment.)
    Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their
    relatives; general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing
    agent of the debtor. 11 U.S.C. § 101(31).

     
     ✔ None
             Insider’s name and address                        Dates          Total amount or value        Reasons for payment or transfer
     4.1.

             __________________________________________      _________       $__________________
             Insider’s name

                                                             _________

                                                             _________


             Relationship to debtor
             __________________________________________



     4.2.    __________________________________________
             Insider’s name
                                                             _________       $__________________

                                                             _________

                                                             _________




             Relationship to debtor

             __________________________________________



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                 QBD Packaging LLC
Debtor           _______________________________________________________                          Case number (if known)_____________________________________
                 Name




 5. Repossessions, foreclosures, and returns
     List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor,
     sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
     None
    ✔
            Creditor’s name and address                        Description of the property                                Date                Value of property
     5.1.

            __________________________________________                                                                    ______________      $___________
            Creditor’s name




     5.2.
            __________________________________________
            Creditor’s name                                                                                               _______________       $___________




 6. Setoffs

     List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of
     the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
     None
    ✔
             Creditor’s name and address                          Description of the action creditor took                 Date action was        Amount
                                                                                                                          taken

             __________________________________________                                                                  _______________      $___________
             Creditor’s name




                                                                Last 4 digits of account number: XXXX– ________


  Part 3:       Legal Actions or Assignments

 7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
     List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
     was involved in any capacity—within 1 year before filing this case.

      None
             Case title                              Nature of case                           Court or agency’s name and address               Status of case
          Jackson County Bank vs. QBD                                                        Jackson County Superior Court
     7.1. Packaging, LLC et al                       Foreclosure                                                                               
                                                                                                                                               ✔ Pending
                                                                                                                                                On appeal
             Case number                                                                     109 S. Sugar Street                                Concluded
                                                                                             Brownstown, IN 47220
      36D01-2403-MF-0019
             _________________________________

             Case title                                                                       Court or agency’s name and address
                                                                                                                                                Pending
     7.2.
                                                                                                                                                On appeal
             Case number
                                                                                                                                                Concluded


             _________________________________


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                 QBD Packaging LLC
Debtor           _______________________________________________________                            Case number (if known)_____________________________________
                 Name




 8. Assignments and receivership
     List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
     hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.
     None
    ✔
             Custodian’s name and address                        Description of the property                        Value

             __________________________________________          ______________________________________             $_____________
             Custodian’s name
                                                                 Case title                                         Court name and address

                                                                 ______________________________________           __________________________________________
                                                                                                                  Name
                                                                 Case number


                                                                 ______________________________________
                                                                 Date of order or assignment

                                                                 ______________________________________

 Part 4:        Certain Gifts and Charitable Contributions

 9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value
     of the gifts to that recipient is less than $1,000
     None
    ✔
             Recipient’s name and address                        Description of the gifts or contributions                   Dates given           Value


     9.1.
            __________________________________________                                                                       _________________   $__________
            Recipient’s name


                                                                                                                             _________________   $__________




             Recipient’s relationship to debtor
             __________________________________________


            __________________________________________                                                                       _________________   $__________
     9.2. Recipient’s name



                                                                                                                             _________________    $__________




             Recipient’s relationship to debtor
             __________________________________________


 Part 5:        Certain Losses

 10. All losses from fire, theft, or other casualty within 1 year before filing this case.

     None
    ✔
             Description of the property lost and how the loss   Amount of payments received for the loss                    Date of loss        Value of property
             occurred                                            If you have received payments to cover the loss, for                            lost
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.
                                                                 List unpaid claims on Official Form 106A/B (Schedule A/B:
                                                                 Assets – Real and Personal Property).


                                                                 ___________________________________________                 _________________   $__________



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                QBD Packaging LLC
Debtor         _______________________________________________________                            Case number (if known)_____________________________________
               Name




 Part 6:      Certain Payments or Transfers

 11. Payments related to bankruptcy
     List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before
     the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring,
     seeking bankruptcy relief, or filing a bankruptcy case.

      None
           Who was paid or who received the transfer?         If not money, describe any property transferred            Dates              Total amount or
                                                                                                                                            value

            Hester Baker Krebs LLC
            __________________________________________
   11.1.                                                                                                                 02/03/2025
                                                                                                                         ______________      $_________
                                                                                                                                               20,000.00
           Address

            One Indiana Square, Suite 1330
            Indianapolis, IN 46204




            Email or website address
            _________________________________

           Who made the payment, if not debtor?

            Nnodum Pharmaceuticals
           __________________________________________


           Who was paid or who received the transfer?         If not money, describe any property transferred            Dates              Total amount or
                                                                                                                                            value


   11.2.    __________________________________________
                                                                                                                         ______________      $_________
            Address




            Email or website address


            __________________________________________


           Who made the payment, if not debtor?

           __________________________________________

 12. Self-settled trusts of which the debtor is a beneficiary
     List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to
     a self-settled trust or similar device.
     Do not include transfers already listed on this statement.

     
     ✔ None
           Name of trust or device                            Describe any property transferred                           Dates transfers    Total amount or
                                                                                                                          were made          value


            __________________________________________                                                                    ______________      $_________

           Trustee

            __________________________________________




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               QBD Packaging LLC
Debtor        _______________________________________________________                            Case number (if known)_____________________________________
              Name




 13. Transfers not already listed on this statement

     List any transfers of money or other propertyby sale, trade, or any other meansmade by the debtor or a person acting on behalf of the debtor
     within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs.
     Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.


     
     ✔ None

           Who received transfer?                              Description of property transferred or payments received   Date transfer       Total amount or
                                                               or debts paid in exchange                                  was made            value



   13.1.    __________________________________________                                                                    ________________     $_________

           Address




           Relationship to debtor

            __________________________________________




           Who received transfer?                                                                                         ________________     $_________

   13.2.    __________________________________________

           Address




           Relationship to debtor

            __________________________________________



 Part 7:      Previous Locations

 14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

      Does not apply
     ✔
           Address                                                                                              Dates of occupancy


   14.1.                                                                                                       From       ____________       To   ____________




   14.2.                                                                                                       From       ____________       To   ____________




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                QBD Packaging LLC
Debtor          _______________________________________________________                            Case number (if known)_____________________________________
                Name




 Part 8:        Health Care Bankruptcies

 15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
      diagnosing or treating injury, deformity, or disease, or
      providing any surgical, psychiatric, drug treatment, or obstetric care?

     
     ✔ No. Go to Part 9.
      Yes. Fill in the information below.
            Facility name and address                        Nature of the business operation, including type of services the             If debtor provides meals
                                                             debtor provides                                                              and housing, number of
                                                                                                                                          patients in debtor’s care

   15.1.    ________________________________________                                                                                      ____________________
            Facility name


                                                             Location where patient records are maintained (if different from facility
                                                             address). If electronic, identify any service provider.                      How are records kept?


                                                                                                                                          Check all that apply:

                                                                                                                                           Electronically
                                                                                                                                           Paper
                                                             Nature of the business operation, including type of services the             If debtor provides meals
            Facility name and address                        debtor provides                                                              and housing, number of
                                                                                                                                          patients in debtor’s care

   15.2.                                                                                                                                  ____________________
            ________________________________________
            Facility name


                                                             Location where patient records are maintained (if different from facility    How are records kept?
                                                             address). If electronic, identify any service provider.

                                                                                                                                          Check all that apply:
                                                                                                                                           Electronically
                                                                                                                                          Paper

 Part 9:        Personally Identifiable Information

 16. Does the debtor collect and retain personally identifiable information of customers?

     
     ✔ No.
      Yes. State the nature of the information collected and retained. ___________________________________________________________________
                Does the debtor have a privacy policy about that information?
              
               No
               Yes
 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other
     pension or profit-sharing plan made available by the debtor as an employee benefit?

      No. Go to Part 10.
      Yes. Does the debtor serve as plan administrator?
            
            ✔ No. Go to Part 10.
             Yes. Fill in below:
                       Name of plan                                                                            Employer identification number of the plan

                       _______________________________________________________________________                 EIN: ___________________________________

                     Has the plan been terminated?
                      No
                      Yes

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Debtor         QBD Packaging LLC
               _______________________________________________________                            Case number (if known)_____________________________________
               Name




 Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

 18. Closed financial accounts
     Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
     moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions,
     brokerage houses, cooperatives, associations, and other financial institutions.

     
     ✔ None

           Financial institution name and address          Last 4 digits of account        Type of account             Date account was        Last balance
                                                           number                                                      closed, sold, moved,    before closing or
                                                                                                                       or transferred          transfer

   18.1.    ______________________________________         XXXX–__________                 Checking                  ___________________      $__________
            Name
                                                                                            Savings
                                                                                            Money market
                                                                                            Brokerage
                                                                                            Other______________

   18.2.    ______________________________________         XXXX–__________                 Checking                  ___________________      $__________
            Name
                                                                                            Savings
                                                                                            Money market
                                                                                            Brokerage
                                                                                            Other______________

 19. Safe deposit boxes
     List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.

     
     ✔ None
             Depository institution name and address       Names of anyone with access to it            Description of the contents                  Does debtor
                                                                                                                                                     still have it?

            ______________________________________                                                                                                    No
            Name                                                                                                                                      Yes


                                                           Address




20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.

    
    ✔ None
             Facility name and address                     Names of anyone with access to it          Description of the contents                    Does debtor
                                                                                                                                                     still have it?
                                                                                                                                                       No
            ______________________________________
            Name
                                                                                                                                                       Yes



                                                            Address




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              QBD Packaging LLC
Debtor        _______________________________________________________                          Case number (if known)_____________________________________
              Name




 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

 21. Property held for another
     List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in
     trust. Do not list leased or rented property.

     
     ✔ None


          Owner’s name and address                       Location of the property                   Description of the property                    Value

                                                                                                                                                  $_________
          ______________________________________
          Name




 Part 12:     Details About Environmental Information

 For the purpose of Part 12, the following definitions apply:
  Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material,
     regardless of the medium affected (air, land, water, or any other medium).
  Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
     formerly owned, operated, or utilized.
  Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant,
     or a similarly harmful substance.

 Report all notices, releases, and proceedings known, regardless of when they occurred.


 22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.


     
     ✔ No

      Yes. Provide details below.
          Case title                                 Court or agency name and address               Nature of the case                        Status of case

          _________________________________                                                                                                    Pending
                                                     _____________________________________
          Case number                                Name                                                                                      On appeal
          _________________________________                                                                                                    Concluded




 23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
     environmental law?

     
     ✔ No

      Yes. Provide details below.
         Site name and address                       Governmental unit name and address             Environmental law, if known              Date of notice


          __________________________________         _____________________________________                                                    __________
          Name                                       Name




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               QBD Packaging LLC
Debtor         _______________________________________________________                        Case number (if known)_____________________________________
               Name




 24. Has the debtor notified any governmental unit of any release of hazardous material?
     
     ✔ No

      Yes. Provide details below.
           Site name and address                     Governmental unit name and address           Environmental law, if known                Date of notice


            __________________________________      ______________________________________                                                     __________
            Name                                    Name




 Part 13:          Details About the Debtor’s Business or Connections to Any Business


 25. Other businesses in which the debtor has or has had an interest
     List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
     Include this information even if already listed in the Schedules.

     
     ✔ None



           Business name and address                 Describe the nature of the business                   Employer Identification number
                                                                                                           Do not include Social Security number or ITIN.

                                                                                                           EIN: ________________________
   25.1.    __________________________________
            Name                                                                                           Dates business existed



                                                                                                           From ___________              To ____________




           Business name and address                 Describe the nature of the business                   Employer Identification number
   25.2.                                                                                                   Do not include Social Security number or ITIN.

                                                                                                           EIN: ________________________
            __________________________________
            Name                                                                                           Dates business existed



                                                                                                           From ___________              To ____________




           Business name and address                 Describe the nature of the business                   Employer Identification number
                                                                                                           Do not include Social Security number or ITIN.

   25.3.                                                                                                   EIN: ________________________
            __________________________________
            Name
                                                                                                           Dates business existed




                                                                                                           From ___________              To ____________




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                   QBD Packaging LLC
Debtor            _______________________________________________________                      Case number (if known)_____________________________________
                  Name




 26. Books, records, and financial statements
     26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.

             None
              Name and address                                                                              Dates of service


              Blue & Company, LLC                                                                           From 06/01/2011
                                                                                                                 _______
   26a.1.     __________________________________________________________________________________
              Name                                                                                             05/05/2025
              627 Washington Street, Columbus, IN 47201                                                     To _______




              Name and address                                                                              Dates of service

                                                                                                            From _______
   26a.2.     __________________________________________________________________________________
              Name
                                                                                                            To _______




     26b.   List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
            statement within 2 years before filing this case.
            
            ✔ None


                   Name and address                                                                         Dates of service

                                                                                                            From _______
         26b.1.    ______________________________________________________________________________
                   Name
                                                                                                            To _______




                                                                                                            Dates of service
                   Name and address

                                                                                                            From _______
         26b.2.
                   ______________________________________________________________________________
                   Name                                                                                     To _______




     26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
            
            ✔ None

                   Name and address                                                                         If any books of account and records are
                                                                                                            unavailable, explain why


         26c.1.    ______________________________________________________________________________
                   Name




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                    QBD Packaging LLC
Debtor              _______________________________________________________                     Case number (if known)_____________________________________
                    Name




                     Name and address                                                                        If any books of account and records are
                                                                                                             unavailable, explain why


           26c.2.    ______________________________________________________________________________
                     Name




     26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement
          within 2 years before filing this case.

              
              ✔ None


                     Name and address


           26d.1.    ______________________________________________________________________________
                     Name




                     Name and address



           26d.2.    ______________________________________________________________________________
                     Name




 27. Inventories
     Have any inventories of the debtor’s property been taken within 2 years before filing this case?
     
     ✔ No

      Yes. Give the details about the two most recent inventories.


               Name of the person who supervised the taking of the inventory                    Date of       The dollar amount and basis (cost, market, or
                                                                                                inventory     other basis) of each inventory


              ______________________________________________________________________           _______       $___________________

               Name and address of the person who has possession of inventory records


   27.1.       ______________________________________________________________________
              Name




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               QBD Packaging LLC
Debtor         _______________________________________________________                         Case number (if known)_____________________________________
               Name




            Name of the person who supervised the taking of the inventory                     Date of          The dollar amount and basis (cost, market, or
                                                                                              inventory        other basis) of each inventory

           ______________________________________________________________________             _______         $___________________

            Name and address of the person who has possession of inventory records


   27.2.    ______________________________________________________________________
            Name




 28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other
     people in control of the debtor at the time of the filing of this case.
   Name                                      Address                                                 Position and nature of any interest      % of interest, if any
 Nnodum Iheme                                5105 Rollman Estate Drive, Cincinnati, OH 45236         Member                                  75


 Baron Bullard                               129 W Co Rd 925 N, Seymour, IN 47274                    Member                                  25




 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?
    ✔ No

      Yes. Identify below.
   Name                                                                                                 Position and nature of any   Period during which position
                                                Address                                                 interest                     or interest was held


                                                                                                                                      _________ To _________


                                                                                                                                      _________ To _________


                                                                                                                                      _________ To _________


                                                                                                                                      _________ To _________

 30. Payments, distributions, or withdrawals credited or given to insiders
     Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
     bonuses, loans, credits on loans, stock redemptions, and options exercised?
      No
     
     ✔ Yes. Identify below.
                                                                                     Amount of money or description      Dates               Reason for providing
            Name and address of recipient                                            and value of property                                   the value

   30.1.    Baron Ballard                                                                                                                   Payment of salary
            ______________________________________________________________            91,000.00
                                                                                      _________________________          _____________
            Name                                                                                                                            12 months prior to
            129 W Co Rd 925 N                                                                                                               petition date
            Seymour, IN 47274                                                                                            _____________


                                                                                                                         _____________

            Relationship to debtor                                                                                       _____________
           Member
           ______________________________________________________________                                                _____________
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                QBD Packaging LLC
Debtor          _______________________________________________________                            Case number (if known)_____________________________________
                Name




             Name and address of recipient
                                                                                           __________________________     _____________

   30.2      ______________________________________________________________
             Name                                                                                                         _____________

                                                                                                                          _____________



                                                                                                                          _____________


             Relationship to debtor                                                                                       _____________

             ______________________________________________________________



 31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
     
     ✔ No

      Yes. Identify below.
             Name of the parent corporation                                                              Employer Identification number of the parent
                                                                                                         corporation

             ______________________________________________________________                             EIN: ____________________________



 32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
      No
     
     ✔ Yes. Identify below.



             Name of the pension fund                                                                    Employer Identification number of the pension fund
             Simple IRA - Jackson County Bank
             ______________________________________________________________                             EIN: ____________________________



 Part 14:           Signature and Declaration


            WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
            connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
            18 U.S.C. §§ 152, 1341, 1519, and 3571.

            I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information
            is true and correct.

            I declare under penalty of perjury that the foregoing is true and correct.

            Executed on      05/05/2025
                             _________________
                              MM / DD / YYYY



            /s/ Nnodum Iheme
            ___________________________________________________________                               Nnodum Iheme
                                                                                         Printed name _________________________________________________
            Signature of individual signing on behalf of the debtor

             Position or relationship to debtor ____________________________________




         Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
          No
         
         ✔ Yes




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               QBD Packaging LLC
 Debtor Name                                                               Case number (if known)



                                   Continuation Sheet for Official Form 207


17) Pension Contributions

Simple IRA - Jackson
County Bank




  Official Form 207                Statement of Financial Affairs for Non-Individuals
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 Fill in this information to identify the case and this filing:

              QBD Packaging LLC
 Debtor Name __________________________________________________________________

                                         Southern District of Indiana
 United States Bankruptcy Court for the: ________________________________

 Case number (If known):    _________________________




Official Form 202
De c la ra t ion U nde r Pe na lt y of Pe rjury for N on-I ndividua l De bt ors                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            De c la ra t ion a nd signa t ure



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


         
         ✔ Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

         
         ✔ Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         
         ✔ Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         
         ✔ Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         
         ✔ Schedule H: Codebtors (Official Form 206H)

         
         ✔ Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

          Amended Schedule ____

         
         ✔ Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


          Other document that requires a declaration__________________________________________________________________________________



        I declare under penalty of perjury that the foregoing is true and correct.


                    05/05/2025
        Executed on ______________                          /s/ Nnodum Iheme
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                  Nnodum Iheme
                                                                ________________________________________________________________________
                                                                Printed name

                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                                         Verification of Creditor List (rev 12/01/18)


                        UNITED STATES BANKRUPTCY COURT
                              Southern District of Indiana


In re:                                            )
__________________________________
 QBD Packaging LLC                                )      Case No. _______________
[Name of Debtor(s)]                               )                       (xx-xxxxx)
__________________________________,               )
                           Debtor(s).             )
                                                                          □ Check if this form
                                                                          is submitted with an
                                                                          amended creditor list.

                          VERIFICATION OF CREDITOR LIST

(I/We) declare under penalty of perjury that all entities included or to be included in
Schedules D, E/F, G, and H are listed in the creditor list submitted with this verification.
This includes all creditors, parties to leases and executory contracts, and codebtors.

(I/We) declare that the names and addresses of the listed entities are true and correct to
the best of (my/our) knowledge.

(I/We) understand that (I/we) must file an amended creditor list and pay an amendment
fee if there are entities listed on (my/our) schedules that are not included in the creditor
list submitted with this verification.


                                                  /s/ Nnodum Iheme
Dated: ______________
       05/05/2025                                 ____________________________
                                                  Signature of Debtor


                                                  ____________________________
                                                  Signature of Joint Debtor




(Note: Certificate of Service not required.)
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Aflac                                                  IPFS Corporation
1932 Wynnton Road                                      P.O. Box 412086
Columbus, GA 31999                                     Kansas City, MO 64141


B & H Electric Supply                                  Jackson County Bank
740 C. Avenue Freeman Field                            125 S. Chestnut Street
P.O. Box 1005                                          Seymour, IN 47274
Seymour, IN 47274

                                                       Jackson County Treasurer
Best Way Disposal                                      111 S. Main Street, Suite 124
2577 Kentucy Avenue                                    Brownstown, IN 47220
Indianapolis, IN 46221

                                                       Liveo Research, Inc.
Colbert Packaging Corporation                          1389 School House Road
1511 W. Lusher Avenue                                  New Castle, DE 19720
Elkhart, IN 46517

                                                       Nnodum Pharmacuetical
Comcast Cable                                          483 Northland Blvd
P.O. Box 7500                                          Cincinnati, OH 45240
Southeastern, PA 19398-7500

                                                       PCA
Duke Energy                                            3460 Commerce Drive
P.O. Box 1327                                          Columbus, IN 477201
Charlotte, NC 28201

                                                       Plymate
First Financial Bank                                   819 Elston Drive
225 Pictoria Drive, Suite 120                          Shelbyville, IN 46176
Cincinnati, OH 45246

                                                       Reliable Comfort
Flexi-Print                                            2601 Montgomery Drive
50 Commercial Avenue                                   Seymour, IN 47274
Moonachie, NJ 07074

                                                       Secura Insurance
General Rubber                                         P.O. Box 819
1007 W. Brown Street                                   Appleton, WI 54912
Seymour, IN 47274

                                                       Stuckwisch Outdoor Services
Great American Financial Service                       2042 N. County Road 950 E
P.O. Box 660831                                        Seymour, IN 47274
Dallas, TX 75266

                                                       Vectren Energy
GreatAmerica Financial Svcs.                           P.O.Box 6248
P.O. Box 660831                                        Indianapolis, IN 46206
Dallas, TX 75266

                                                       William M. Braman
Indiana American Water                                 Lorenzo Bevers Braman & Connell
P.O. Box 6029                                          218 West Second Street
Carol Stream, IL 60197                                 Seymour, IN 47274
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                                                           United States Bankruptcy Court
IN RE:                                                                                                Case No.__________________
QBD Packaging LLC                                                                                                   11
__________________________________________________________ Chapter __________________

                                                LIST OF EQUITY SECURITY HOLDERS


 Registered name and last known address of security holder                                Shares                             Security Class
                                                                                          (Or Percentage)                    (or kind of interest)

 Nnodum Iheme                                                                           75
 5105 Rollman Estate Drive, Cincinnati, OH 45236




 Baron Bullard                                                                           25
 129 W Co Rd 925 N, Seymour, IN 47274




                 DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP
 I declare under penalty of perjury that I have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and
 belief.

        /s/ Nnodum Iheme
         ______________________________________________

         Signature of individual signing on behalf of the debtor

              05/05/2025
         Date ________________
       Case
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                                      United States Bankruptcy Court
                                                              Southern District of Indiana
                                               __________________________________
     In re QBD Packaging LLC
                                                                                                             Case No. _______________

    Debtor                                                                                                            11
                                                                                                              Chapter________________

                       DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

    1. Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the
       above named debtor(s) and that compensation paid to me within one year before the filing of the
       petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of
       the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

    FLAT FEE
          For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________
          Prior to the filing of this statement I have received. . . . . . . . . . . . . . . . . . . . . . . . $______________
          Balance Due. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________
✔    RETAINER
                                                                                                                         20,000.00
          For legal services, I have agreed to accept a retainer of . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                         450.00
          The undersigned shall bill against the retainer at an hourly rate of . . . . . . . . . . . $______________
          [Or attach firm hourly rate schedule.] Debtor(s) have agreed to pay all Court
          approved fees and expenses exceeding the amount of the retainer.

    2. The source of the compensation paid to me was:
                 Debtor                                 Other (specify)

    3. The source of compensation to be paid to me is:
                 Debtor                                 Other (specify)

    4.         I have not agreed to share the above-disclosed compensation with any other person unless they
         are members and associates of my law firm.

              I have agreed to share the above-disclosed compensation with a other person or persons who
    are not members or associates of my law firm. A copy of the Agreement, together with a list of the names
    of the people sharing the compensation is attached.
    5. In return of the above-disclosed fee, I have agreed to render legal service for all aspects of the
       bankruptcy case, including:
         a. Analysis of the debtor’s financial situation, and rendering advice to the debtor in determining
            whether to file a petition in bankruptcy;
         b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be
            required;
         c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any
            adjourned hearings thereof;
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 B2030 (Form 2030) (12/15)
      d. [Other provisions as needed]
Total compensation shall be based upon the total hours of legal services rendered at the applicable attorney or legal assistant rates, plus expenses,
less retainer paid, pursuant to a written engagement letter. No flat fee or flat rate is intended or implied.




6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:
Representation of the Debtor in any adversary proceeding.
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                                            CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for
           payment to me for representation of the debtor(s) in this bankruptcy proceeding.

        05/05/2025                       /s/ Jeffrey Hester, 22048-49
      _____________________             _________________________________________
      Date                                     Signature of Attorney
                                         Hester Baker Krebs LLC
                                        _________________________________________
                                             ​Name of law firm
                                         One Indiana Sq
                                         Suite 1330
                                         Indianapolis, IN 46204
